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Transcript of Marvin Scothorn
                          Date: December 19, 2018
             Case: Gillispie -v- City of Miami Township, et al.




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   1                   UNITED STATES DISTRICT COURT
   2                      SOUTHERN DISTRICT OF OHIO
   3                           WESTERN DIVISION
   4     __________________________________________________
   5     ROGER DEAN GILLISPIE,            :
   6                  Plaintiff           :
   7           -vs-                       : CASE NO. 3:13-CV-416
   8     CITY OF MIAMI TOWNSHIP,:
   9     ET AL.,                          :
   10                 Defendants          :
   11    __________________________________________________
   12
   13                      Deposition of MARVIN SCOTHORN, a
   14    Defendant herein, taken by the Plaintiff as upon
   15    cross-examination and pursuant to the Ohio Rules of
   16    Civil Procedure as to the time and place and
   17    stipulations hereinafter set forth, at the offices
   18    of Surdyk, Dowd & Turner, 8163 Old Yankee Street,
   19    Suite C, Dayton, Ohio at 10:09 a.m., on December
   20    19, 2018, before Jamie S. Hurley, Court Reporter
   21    and Notary Public within and for the State of Ohio.
   22
   23
   24                      *    *     *       *   *   *
   25
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   1     APPEARANCES
   2     ON BEHALF OF PLAINTIFF
   3            Mr. Omavi Shukur
                Attorney at Law
   4            Loevy & Loevy
                311 North Aberdeen Street, 3rd Floor
   5            Chicago, Illinois 60607
   6     ON BEHALF OF DEFENDANT, TOM ANGEL, JOHN DIPIETRO,
         STEPHEN GRAY
   7
                Mr. Jonathan T. Deters
   8            Attorney at Law
                SMBP Law
   9            5300 Socialville-Foster Road, Suite 200
                Mason, Ohio 45040
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         ON BEHALF OF DEFENDANT, MARVIN SCOTHORN
   11
                Ms. Jackie Jewell
   12           Attorney at Law
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   13           200 Civic Center Drive, Suite 800
                Columbus, Ohio 43215
   14
         ON BEHALF OF DEFENDANT, MIAMI TOWNSHIP POLICE
   15    DEPARTMENT
   16           Mr. Christopher T. Herman
                Attorney at Law
   17           Surdyk, Dowd & Turner
                8163 Old Yankee Street, Suite C
   18           Dayton, Ohio 45458
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   20           Mr. Jeffrey T. Kay
                Attorney at Law
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                100 Franklin's Row, 34305 Solon Road
   22           Cleveland, Ohio 44139
   23
   24
                                 *    *     *     *    *
   25

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   1     WHEREUPON:
   2                              MARVIN SCOTHORN,
   3     of lawful age, a Defendant herein, being first duly
   4     sworn as hereinafter certified, testified as
   5     follows:
   6                          CROSS-EXAMINATION
   7     BY MR. SHUKUR:
   8                Q.   Good morning.
   9                A.   Good morning.
   10               Q.   Please state your name for the record.
   11               A.   Marvin Scothorn.
   12               Q.   And how do you spell that?
   13               A.   S-C-O-T-H-O-R-N.
   14               Q.   Okay.     All right.     Mr. Scothorn, before
   15    we have our conversation I will just layout some
   16    ground rules for our conversation, all right?
   17               A.   Okay.
   18               Q.   And if you will just tell me, you know,
   19    if you understand the ground rule after I say it;
   20    does that sound all right?
   21               A.   That sounds good.
   22               Q.   All right.      Now, everything you say
   23    will be recorded by our great court reporter here
   24    today.     Unfortunately, as talented she is, she
   25    can't record nonverbal movements where we usually

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   1     just nod or we might say uh-huh or something like
   2     that, I would like to have an affirmative or just a
   3     verbal answer to all of my questions; do you
   4     understand?
   5                A.   I do understand.
   6                Q.   All right.     I will ask you a series of
   7     questions, none of which will be objectionable, but
   8     I imagine there may be some objections.                If an
   9     objection is put forth, please still answer the
   10    question unless instructed not do so by your
   11    counsel.
   12               A.   I understand.
   13               Q.   Now, this should just be common
   14    courtesy, but sometimes, you know, we all waiver on
   15    that front, so, you know, I'm going to try not to
   16    object or, not to object, but not to interrupt you
   17    when you're giving an answer.           And I ask that you
   18    show me the same respect and not interrupt me when
   19    I'm asking a question in part because the, our
   20    conversation would be recorded, and we want to make
   21    sure that any answer that you're giving to my
   22    question is clear in terms of what question you're
   23    answering.
   24                          And we want the question that I am
   25    putting forth to be clear as well before you give

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   1     your answer, so it's for the common courtesy
   2     purposes and clarity purposes, but we're not going
   3     to interrupt each other; is that all right?
   4               A.    I understand.
   5               Q.    All right.      And, also, this is not an
   6     endurance contest.         So if ever you need to take a
   7     break to use the restroom or just do some breathing
   8     exercises, you're more than welcome to take a break
   9     provided that you, if I put forth a question or I
   10    ask a question before you ask for a break, I'll ask
   11    that you answer the question, and then we'll break;
   12    do you understand?
   13              A.    I understand.
   14              Q.    Okay.     If you don't understand any of
   15    the questions I ask, just let me know.               I will
   16    clarify the question to the best of my ability, and
   17    you should feel free to ask for a clarification; do
   18    you understand?
   19              A.    I understand.
   20              Q.    If you do answer a question, a series
   21    of questions that I ask, I will assume that you
   22    both understand the question and that you are
   23    answering the question to the best of your ability
   24    and that you're giving a complete answer to the
   25    question; do you understand?

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   1               A.    I understand.
   2               Q.    Now, are you on any medications today
   3     that will affect your ability to give your
   4     deposition?
   5               A.    No.
   6               Q.    Okay.     So, Mr. Scothorn, what did you
   7     do in preparation for your deposition here today?
   8               A.    I had a meeting with, with my attorney
   9     and we discussed documents that --
   10                            MS. JEWELL:     Objection.       Don't
   11    tell him anything that was discussed, just the
   12    meeting is fine.
   13    BY MR. SHUKUR:
   14              Q.    And that's another thing.           At no point
   15    do I want to hear anything that you've told your
   16    attorney or anything that your attorney has told
   17    you at any point during this conversation, all
   18    right?
   19              A.    I understand.
   20              Q.    All right.      So you met with your
   21    attorney.      When did you meet with your attorney?
   22              A.    This morning.
   23              Q.    Okay.     And is that the only meeting you
   24    had with your attorney in preparation for your
   25    deposition today?

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   1               A.    Face-to-face.
   2               Q.    All right.      Did you have any meetings
   3     via telephone?
   4               A.    Yes.
   5               Q.    All right.      How many?
   6               A.    One with this attorney.
   7               Q.    Okay.     Any meetings with any other
   8     attorneys?
   9               A.    Yes.
   10              Q.    From the same law office?
   11              A.    Yes.
   12              Q.    Okay.     And how many meetings with the
   13    other attorneys?
   14              A.    One face-to-face and several
   15    telephones.
   16                            MS. JEWELL:     I just want to make
   17    sure that the record's clear.            Those meetings with
   18    Attorney Kasson were not in preparation of this
   19    deposition.      It was just for other purposes.
   20    BY MR. SHUKUR:
   21              Q.    All right.      Now, during your telephone
   22    meetings with the other attorneys, I take it the
   23    other attorney was Mr. Kasson?
   24              A.    Yes.
   25              Q.    All right.      Were there any other people

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   1      on the calls besides you and Mr. Kasson during your
   2      telephone conversations with Mr. Kasson?
   3                A.   Not that I'm aware of.
   4                Q.   Okay.     And during your in-person
   5      meeting with your attorney in preparation for your
   6      deposition, was there anybody else present during
   7      that meeting?
   8                A.   You mean today?
   9                Q.   Yes.
   10               A.   No.
   11               Q.   Okay.     How long was your meeting with
   12     your attorney today?
   13               A.   About an hour and a half.
   14               Q.   All right.      Did you review any
   15     documents --
   16                            MS. JEWELL:     Objection.
   17     BY MR. SHUKUR:
   18               Q.   -- during this meeting?
   19               A.   No.
   20               Q.   Did you review any documents in
   21     preparation for your deposition today, period?
   22               A.   Yes.
   23               Q.   All right, what documents did you
   24     review?
   25               A.   I reviewed documents that were sent to

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   1      me by my attorney.
   2                Q.    All right.      Aside from any documents
   3      specifically prepared or authored by your
   4      attorneys, were there any other documents that you
   5      reviewed?
   6                A.    Yes.
   7                Q.    All right.      What were they?
   8                              (WHEREUPON, Mr. Deters exited the
   9      room.)
   10                             THE WITNESS:     I, over the last few
   11     years, received a lot of correspondence.
   12                             MS. JEWELL:     We're not going to
   13     get into that.         I think he's confused with your
   14     question.      Would you ask it a different way?
   15     BY MR. SHUKUR:
   16               Q.    Okay.     So I don't want to know about
   17     any e-mails from any of your attorneys, any reports
   18     from any of your attorneys.            What I'm asking for,
   19     for example, would be any reports from any law
   20     enforcement agency, any third-party reports, any
   21     reports authored by yourself or documents authored
   22     by yourself, stuff like that?
   23               A.    No.
   24               Q.    Okay.     So you didn't review any
   25     documents from Miami Township Police Department in

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   1      preparation for your deposition today?
   2                A.   No.
   3                Q.   All right.      Now, you understand that
   4      we're here today because a lawsuit has been filed,
   5      and you were named as one of the defendants, right?
   6                A.   Yes.
   7                Q.   And you understand that this lawsuit
   8      arises from the Miami Township Police Department's
   9      investigation of Dean Gillispie for rape, right?
   10               A.   Yes.
   11               Q.   All right.      Now, do you have any sort
   12     of memory, any independent memory of any other
   13     events that took place as a part of that
   14     investigation?
   15               A.   No.
   16               Q.   Okay.     Do you have any independent
   17     memory of this investigation that occurred, you
   18     know, around 1988 through 1991?
   19               A.   I wasn't involved in the original
   20     investigation, so I have no knowledge of what
   21     transpired.
   22               Q.   Do you know Dean Gillispie?
   23               A.   I do not.
   24               Q.   All right.      To your knowledge, have you
   25     ever known Dean Gillispie?

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   1                A.   Not to my knowledge.
   2                Q.   All right.      Have you ever known of Dean
   3      Gillispie?
   4                A.   I've read a lot about him in the last
   5      few years, but that's pretty much the extent of it.
   6                Q.   All right.      And by last, so that's the
   7      last few years so from 2015 to today you've read a
   8      lot about him?
   9                A.   I've read through the documents that
   10     I've received.
   11               Q.   Since the filing of this lawsuit or you
   12     mean before the filing of the lawsuit?
   13               A.   Since the filing of the lawsuit.
   14               Q.   All right.      So before this lawsuit was
   15     filed, did you have any sort of knowledge of Dean
   16     Gillispie?
   17               A.   No.
   18               Q.   Do you have any position either way
   19     regarding whether Dean Gillispie raped Bonnie Wise?
   20                           MS. JEWELL:     Objection.       Go ahead
   21     and answer.
   22                           THE WITNESS:      I have no
   23     information about the case, so I couldn't make a
   24     judgment.
   25     BY MR. SHUKUR:

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   1                Q.   And by couldn't make a judgment, do you
   2      mean you don't have a position in terms of whether
   3      he did or didn't rape Bonnie Wise?
   4                A.   I do not.
   5                Q.   Okay.     Do you have any position
   6      regarding whether Dean Gillispie raped Connie Wise?
   7                A.   No.     The same answer, I do not have any
   8      information on that.         I do not know who Connie Wise
   9      is.
   10               Q.   All right.      And is it the same with
   11     Sandra Carpenter, Sandra Clark, sorry, is it the
   12     same with Sandra Clark, you don't have a position
   13     either way as so whether Dean Gillispie raped
   14     Sandra Clark?
   15               A.   Same answer, I don't know.           I don't
   16     have that information.
   17               Q.   And do you not have any position either
   18     way regarding whether Dean Gillispie committed any
   19     crime relating to the rapes of these women?
   20               A.   I do not have any information about
   21     that, no.
   22               Q.   All right.      All right.      Mr. Scothorn,
   23     where did you grow up?
   24               A.   West Carrollton, right here, right here
   25     in West Carrollton.

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   1                Q.   Where did you graduate from high --
   2                A.   West Carrollton High School.
   3                Q.   And, see, that's a good example.            So --
   4                A.   I'm sorry.      I interrupted you.
   5                Q.   Now, on the transcript it's going to
   6      show up as, where did you, West Carrollton High
   7      School, graduated.        So let's try to do better with
   8      that.    So I know it's not intuitive, but we're
   9      going to do our best, right?
   10               A.   Yes, we are.
   11               Q.   So you graduated from West Carrollton
   12     High School in what year?
   13               A.   1970.
   14                            (WHEREUPON, Mr. Deters entered the
   15     room.)
   16     BY MR. SHUKUR:
   17               Q.   And what did you do after you graduated
   18     from West Carrollton High School in terms of
   19     furthering your education or employment?
   20               A.   I took some classes at Sinclair
   21     Community College and some classes at Wright State.
   22     I did not graduate.
   23               Q.   Did you work?
   24               A.   I did.
   25               Q.   All right.      Where did you work?

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   1                A.   Initially after high school I worked
   2      for Montgomery County Water Department.
   3                Q.   How long were you there?
   4                A.   Eleven years.
   5                Q.   Is that until about '81?
   6                A.   Yes.
   7                Q.   Okay.     Where did you work after the
   8      Montgomery County Water Department?
   9                A.   Miami Township Police Department.
   10               Q.   You began working at Miami Township
   11     Police Department in 1981 or '82?
   12               A.   Neither.
   13               Q.   Neither?      When did you begin working at
   14     the Miami Township Police Department?
   15               A.   I started with Miami Township as a
   16     police cadet in 1969.
   17               Q.   Okay.     What were your responsibilities
   18     as a police cadet?
   19               A.   I helped out with parades.           I was
   20     security details for crowd control.             They had some
   21     carnivals that they needed someone to walk around
   22     with for security.        I did those type of things,
   23     traffic control when they had bad accidents, those
   24     type of things.
   25               Q.   How long were you a police cadet for?

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   1                 A.   I was a police cadet until I turned 21,
   2      so that would have been 1973.
   3                 Q.   What was your next position with the
   4      Miami Township Police Department?
   5                 A.   I became a patrol officer for Miami
   6      Township.
   7                 Q.   What were your responsibilities as a
   8      patrol officer?
   9                 A.   I was, I drove a police cruiser and
   10     patrolled neighborhoods, took accident reports,
   11     investigated crimes.
   12                Q.   And in 1973 when you became a patrol
   13     officer, that was in a part-time capacity?
   14                A.   Actually it was in a volunteer
   15     capacity.
   16                Q.   All right.     About how many, well, sort
   17     of what was your schedule like through your
   18     volunteer patrol officer days?
   19                A.   I was assigned one day a week that I
   20     would come in and work an eight-hour shift.
   21                Q.   All right.     How long were you a patrol
   22     officer at the Miami Township Police Department
   23     for?
   24                A.   How long was I an axillary patrol
   25     officer?

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   1                 Q.   Yes.
   2                 A.   Okay.     About a year and a half.
   3                 Q.   So 1973 you began as an, you started
   4      your position as an axillary patrol officer?
   5                 A.   Yes.
   6                 Q.   All right.
   7                 A.   A volunteer.
   8                 Q.   All right.      And then you ended serving
   9      as a, your time as an axillary patrol officer ended
   10     in 1975?
   11                A.   '74.
   12                Q.   '74.     What was your next position at
   13     the Miami Township?
   14                A.   I became a part-time patrol officer.
   15                Q.   In 1974?
   16                A.   Yes.
   17                Q.   All right.      Did your duties as a
   18     part-time patrol officer differ at all from your
   19     duties as an axillary patrol officer?
   20                A.   Yes.
   21                Q.   How so?
   22                A.   I was working, scheduled three days a
   23     week as opposed to one day, and I was paid a
   24     salary.
   25                Q.   How long were you a part-time patrol

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   1      officer for?
   2                A.   Until '78.
   3                Q.   What was your next position at the
   4      Miami Township Police Department?
   5                A.   I became a part-time sergeant.
   6                Q.   What were your duties as a part-time
   7      sergeant?
   8                A.   To be the shift supervisor of whatever
   9      shift I was working.
   10               Q.   I'm sorry.      You started your position
   11     as a part-time sergeant in --
   12               A.   '78.
   13               Q.   '78, okay.      All right.     What were the
   14     responsibilities for, what were your
   15     responsibilities as shift supervisor?
   16               A.   I was there to assist if other patrol
   17     officers needed assistance.          I was a backup for
   18     other patrol officers that went on calls that could
   19     potentially be dangerous.          Other than that, my
   20     duties were pretty much the same as a regular
   21     patrol officer.
   22               Q.   All right.      A shift supervisor in
   23     addition to doing accident reports, investigating
   24     crimes, and carrying out regular patrol officer
   25     duties, your only other responsibilities were to

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   1      assist patrol officers when needed and serve as
   2      backup to patrol officers where needed; is that
   3      correct?
   4                 A.   Yes.
   5                 Q.   All right.     How long were you a
   6      part-time sergeant for?
   7                 A.   Until 1981.
   8                 Q.   What was your next position?
   9                 A.   I was a full-time sergeant.
   10                Q.   What were your responsibilities as a
   11     full-time sergeant?
   12                A.   The same as the part-time sergeant,
   13     only I was doing it five days a week.
   14                Q.   How long were you a full-time sergeant
   15     for?
   16                A.   Until 1987.
   17                Q.   What was your next position at the
   18     Miami Township Police Department?
   19                A.   Lieutenant.
   20                Q.   Were you, were you the lieutenant of a
   21     particular division, a section, or just lieutenant?
   22                A.   I was, I was one of two lieutenants,
   23     and I was, I oversaw the records section and the
   24     dispatch area and the dispatchers.
   25                Q.   What was the other lieutenant's realm

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                                   Transcript of Marvin Scothorn
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   1      of authority or responsibility?
   2                A.    He was in charge of the patrol section
   3      and the detective section.
   4                Q.    Okay.     What was the other lieutenant's
   5      name in '87?
   6                A.    At the time it was Tom Angel.
   7                Q.    How long were you, oh, sorry.            And you
   8      said that you, your realm of responsibility or the
   9      scope of your responsibility covered records and
   10     dispatch.      What exactly were your responsibilities
   11     relating to records in dispatch?
   12               A.    I worked with the computer guy that we
   13     had to help set up some, you know, some
   14     computerized record keeping.            They had, I think,
   15     four employees in the records section that, and
   16     then one supervisor who was a civilian, well, all
   17     of those people were civilians.             And I just oversaw
   18     them, and I was a liaison between them and the rest
   19     of the department and the same for the dispatch.
   20               Q.    You're the liaison between the staff
   21     members of records and dispatch in the department?
   22               A.    Yes.
   23               Q.    All right.      And by department do you
   24     mean leadership?
   25               A.    Yes.

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                                  Transcript of Marvin Scothorn
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   1                Q.   Okay.     And who all was in the
   2      leadership or what were the titles of the --
   3                A.   At that stage there was, there was
   4      myself as lieutenant.         Tom Angel was lieutenant,
   5      and James Moore was a police chief.
   6                Q.   All right.      So the chain of command had
   7      the police chief at the top followed by two
   8      lieutenants; is that correct?
   9                A.   That is correct.
   10               Q.   All right.      And then with the next step
   11     in the chain of command would be patrol officers?
   12               A.   There were five patrol sergeants.
   13               Q.   Patrol sergeants.        All right.        Sorry.
   14               A.   Correction, there were four patrol
   15     sergeants and one detective sergeant.
   16               Q.   And one detective sergeant.              All right.
   17     And those sergeants were under Angel in '87?
   18               A.   That is correct.
   19               Q.   Did you have any sergeants under you in
   20     the chain of command?
   21               A.   No.
   22               Q.   The people under you in the chain of
   23     command were the staff members of the records and
   24     dispatch departments or section?
   25               A.   Yes.

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                                 Transcript of Marvin Scothorn
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   1                Q.   All right.      Did you call it a records
   2      department or division or section?
   3                A.   We called it a director's department.
   4                Q.   Department, okay.        As lieutenant of
   5      records, you have established the computerized
   6      recordkeeping of the Miami Township Police
   7      Department at the time; is that correct?
   8                A.   I assisted in creating them, yes.
   9                Q.   All right.      And how did you assist in
   10     creating a computerized recordkeeping?
   11               A.   We had hired a consultant to come in
   12     and help us set up how it was going to function.
   13     And I basically sat with him and explained to him
   14     what we needed and how we needed it to be kept.
   15               Q.   What did you tell the consultant you
   16     needed in terms of a computerized recordkeeping
   17     system?
   18               A.   I really don't recall the conversations
   19     I had with him.
   20               Q.   Do you remember any of your priorities
   21     in terms of records keeping, computerized records
   22     keeping system at the time?
   23               A.   We just needed something that the
   24     officers could come in and type in their
   25     information into the report.          And we tried to make

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   1      it as similar to the existing hardcopy of reports
   2      that we had at the time.
   3                Q.   Were you pretty knowledgeable about the
   4      computerized records keeping system at the time in
   5      '87?
   6                A.   No, sir.
   7                Q.   Did you know how the computerized
   8      recordkeeping system sort of functioned or operated
   9      at the time in '87?
   10               A.   No.
   11               Q.   All right.      Did you come to become
   12     familiar with how the computerized recordkeeping
   13     system operated?
   14               A.   Overtime I learned a lot about the
   15     computers, but I, even today, I wouldn't consider
   16     myself knowledgeable about computers.
   17               Q.   How long were you the lieutenant of
   18     records in dispatch for?
   19               A.   Until 1990.
   20               Q.   What was your next position at the
   21     police department?
   22               A.   Captain.
   23               Q.   Before 1990 did the position of, sorry,
   24     is the captain the same as the police chief?
   25               A.   No.

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                                  Transcript of Marvin Scothorn
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   1                Q.   Okay.     Before 1990, did the position of
   2      captain exist?
   3                A.   No.
   4                Q.   Okay.     What were your responsibilities
   5      as captain?
   6                A.   I had the same responsibilities except
   7      now I was, the lieutenant now reported to me as
   8      opposed to the directly to the chief.
   9                Q.   All right.      When you became captain in
   10     1990, did the department eliminate the position of
   11     lieutenant for records in dispatch?             Were they
   12     still two lieutenants?
   13               A.   No.     There was only one lieutenant.          I
   14     still retained the same duties.            I just, the
   15     lieutenant reported directly to me.
   16               Q.   All right.      When you became captain in
   17     1990, who was the lieutenant?
   18               A.   Gary Williams.
   19               Q.   All right.      At this time did
   20     Mr. Williams still have four patrol sergeants and
   21     one detective sergeant under him?
   22               A.   Yes.
   23               Q.   Who is the detective sergeant in 1990?
   24               A.   Steve Fritz.
   25               Q.   Why did they create the position of

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                                 Transcript of Marvin Scothorn
                                Conducted on December 19, 2018                  25

   1      captain in 1990?
   2                            MS. JEWELL:     Objection.       Only
   3      answer if you know.
   4                            THE WITNESS:      I wasn't consulted.
   5      They just offered me the position.
   6      BY MR. SHUKUR:
   7                Q.   Do you have any or did you have, at the
   8      time have any sort of inclination as to why they
   9      created the position?
   10                           MS. JEWELL:     Objection, same
   11     objection.     You already answered this.
   12                           THE WITNESS:      Do you want me to
   13     speculate?
   14     BY MR. SHUKUR:
   15               Q.   I don't want you to speculate.            I just
   16     want to know if you had any inclination as to why
   17     they created the position?
   18               A.   I --
   19                           MS. JEWELL:     No, don't guess or
   20     speculate.
   21                           MR. SHUKUR:     Is that an objection?
   22     That's not an objection.
   23                           MS. JEWELL:     I didn't want him to
   24     speculate.     He's going to answer how he answers.
   25                           MR. SHUKUR:     I understand.       I just

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                                 Transcript of Marvin Scothorn
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   1      want proper objections to be made.
   2                            MS. JEWELL:     It's proper.       Go
   3      ahead.
   4                            THE WITNESS:      I think it was part
   5      of restructuring by the new police chief.
   6                            MR. SHUKUR:     And instructing
   7      clients is not proper.         Objections are proper.
   8      Instructing clients --
   9                            MS. JEWELL:     Well, I don't want
   10     him to guess or speculate, and I'm sure you don't
   11     either.     He already answered.
   12                           MR. SHUKUR:     That's great
   13     coaching.      I just want you to keep it to
   14     objections, if possible.         I'll show you the same
   15     courtesy.
   16     BY MR. SHUKUR:
   17               Q.    All right.     How long were you a
   18     lieutenant for, or a captain, I'm sorry?
   19               A.    A captain, until 1996.
   20               Q.    If you, well, sorry, do you, what were
   21     the responsibilities of detective sergeants?
   22               A.    He was to oversee the detective section
   23     and oversee the investigations that occur.
   24               Q.    Anything else?
   25               A.    I wasn't, I wasn't in charge of the

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                                     Transcript of Marvin Scothorn
                                    Conducted on December 19, 2018              27

   1      section.        I've never been a detective, so I don't
   2      know exactly everything that they did.
   3                 Q.     During your time as sergeant you didn't
   4      know exactly everything that the detective
   5      sergeants did?
   6                 A.     No.
   7                 Q.     Okay.     After Steve Fritz who else, or
   8      I'm sorry, who was the next detective sergeant
   9      after Steve Fritz?
   10                A.     Tim Wilson.
   11                Q.     Now, what was your assessment of Steve
   12     Fritz' performance as detective sergeant during
   13     your time as captain?
   14                               MS. JEWELL:     Can you repeat the
   15     question?
   16     BY MR. SHUKUR:
   17                Q.     What was your assessment of Steve
   18     Fritz' performance as detective sergeant during
   19     your time at the Miami Township Police Department?
   20                A.     Okay.     He did not report to me.       And
   21     there was some things about Steve Fritz that I did
   22     not care for as a person.
   23                Q.     What did you not care for?
   24                A.     He wasn't always truthful.
   25                Q.     Why did you believe Fritz was not

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                                 Transcript of Marvin Scothorn
                                Conducted on December 19, 2018                  28

   1      always truthful?
   2                A.   Because I caught him in lies.
   3                Q.   What is a lie that you caught Steve
   4      Fritz in?
   5                A.   He was doing an investigation.
   6      Something came up about the investigation to me.                I
   7      don't recall exactly the details, but I asked him
   8      about it and asked him if he had a report on it,
   9      and he told me that he did.          It took him a couple
   10     hours to find it, and when he found it, I figured
   11     out that he had gone down and written it after I
   12     asked for it.
   13               Q.   Did this in any way hinder or impair
   14     the department's ability to carry out their law
   15     enforcement functions in regards to the
   16     investigation?
   17               A.   No.
   18               Q.   What's another lie that you caught
   19     Fritz in?
   20               A.   He was getting something from the
   21     property room, and he told me that he had returned
   22     it, and he did not.        And then I found out later
   23     that he did return it, but it was after the fact.
   24               Q.   Do you know what the piece of the
   25     property was?

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                                  Transcript of Marvin Scothorn
                                 Conducted on December 19, 2018                 29

   1                A.   I don't recall.
   2                Q.   Did this affect the, negatively affect
   3      the department's law enforcement functions in
   4      regards to that investigation?
   5                A.   No.
   6                Q.   What's another lie you caught Fritz in?
   7                A.   That's all the two that I remember.
   8                Q.   How would you describe your
   9      relationship with Fritz, is it friendly, cordial?
   10               A.   Today?
   11               Q.   Yes.
   12               A.   Oh, I have no relationship with him
   13     today.    I have not seen him in more than 20 years.
   14               Q.   How would you describe your
   15     relationship with Fritz during your time at the
   16     Miami Township Police Department?
   17               A.   It would have to be hot and cold.            Some
   18     days it was good.        Some days it wasn't.
   19               Q.   Aside from the two events that we've
   20     already discussed, was there any other event that
   21     stands out to you regarding your relationship with
   22     Fritz and, yeah?
   23               A.   Can you be more specific?
   24               Q.   Yeah.     Any particularly hostile event
   25     that stands out to you during your time at the

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                                  Transcript of Marvin Scothorn
                                 Conducted on December 19, 2018                 30

   1      Miami Township Police Department involving Fritz?
   2                A.   There's one that comes to mind.
   3                Q.   What event is that?
   4                A.   The involvement he had in my
   5      termination from the department.
   6                Q.   What involvement did he have in your
   7      termination from the department?
   8                A.   Even though he wasn't with the
   9      department any longer, he helped organize a group
   10     of people to tell stories about me that weren't
   11     true.
   12               Q.   And we'll get into that a little more a
   13     little bit later.
   14               A.   I figured you might.
   15               Q.   For now, how would you describe him as,
   16     Fritz as a sort of detective sergeant in terms of
   17     purely his performance?
   18               A.   He was a very good investigator.            He
   19     knew the job.      He just always wasn't ready to
   20     perform it.
   21               Q.   Okay.     What makes you say that he was a
   22     good investigator or why do you say he was a good
   23     investigator?
   24               A.   He handled a lot of cases during the
   25     time that he and I were there together that he, he

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                                 Transcript of Marvin Scothorn
                                Conducted on December 19, 2018                   31

   1      proved cases or he disproved cases or he was able
   2      to find things out and, you know, and talk to
   3      people and get, you know, confessions.             And so he
   4      was, he was a good investigator.
   5                Q.   Why do you say that Fritz knew the job?
   6                A.   He knew what he was supposed to do.                He
   7      just didn't always do it.
   8                Q.   What did Fritz do to indicate that he
   9      knew what he was supposed to do?
   10               A.   He would complete cases that were
   11     important to him, but if it was something that he,
   12     you know, that he was stumbling with, then he
   13     would, he would bury it, and it would not get, it
   14     wouldn't go any further until somebody questioned,
   15     you know, what happened with this case?                And then
   16     he would end up with, you know, I've been working
   17     on this case, and I've done all this paperwork.
   18     And it turned out that he wasn't been working on
   19     the case, and he didn't do any paperwork.
   20               Q.   Now, you said Fritz wasn't always ready
   21     to perform.     Why do you say Fritz wasn't always
   22     ready to perform?
   23               A.   As I said, he knew his job.             He just
   24     wasn't always willing to do it.
   25               Q.   And then so in terms of, did you learn

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                                 Transcript of Marvin Scothorn
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   1      about Fritz' performance, his willingness to
   2      perform his job functions, his knowledge of the job
   3      in your capacity as lieutenant or in your capacity
   4      as captain or some combination?
   5                A.   As a combination.
   6                Q.   All right.      So as lieutenant how would
   7      you come to be aware of Fritz' performance on the
   8      job?
   9                A.   He was a detective sergeant, so he
   10     interacted with, you know, several other agents or
   11     other departments in the police department.               And
   12     sometimes people would come to me, with, you know,
   13     disappointments about his performance.
   14               Q.   Who were these people who came to you
   15     about, with disappointments about Fritz'
   16     performance?
   17               A.   I don't remember anyone specific, but
   18     it would have been, it would have been someone
   19     that, like, in the records section or someone in
   20     the detective section, or not the detective
   21     section, someone in the dispatch or sometimes
   22     patrol officers would come to me about a case that
   23     they called him on, and he wasn't performing like
   24     they thought he should.         And I would send them down
   25     the chain of command and tell them to talk with the

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                                 Transcript of Marvin Scothorn
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   1      lieutenant.
   2                Q.   How would you become informed about
   3      Fritz' performance on the job during your time as
   4      captain at the Miami Township Police Department?
   5                A.   I had an open door policy.          If someone
   6      had a complaint, they were welcome to come see me.
   7                Q.   Who complained about Fritz' performance
   8      during your time as captain?
   9                A.   I don't remember anybody specific.
   10               Q.   Do you remember the complainant's
   11     positions within the police department?
   12               A.   I know I received a complaint from a
   13     record section about his not getting paperwork
   14     submitted on time.       I also received complaints from
   15     sergeants that they didn't like his performance
   16     when he was called out on a case, you know, during
   17     the night, so but I don't remember specifics about
   18     that.
   19               Q.   All right.      In this complaint from
   20     sergeants regarding Fritz not coming out on a call,
   21     during this time you were captain, correct?
   22               A.   Yes.
   23               Q.   All right.      And there were two
   24     sergeants, correct?
   25               A.   There were four sergeants.

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                                     Transcript of Marvin Scothorn
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   1                 Q.     Four sergeants.        And so the sergeants
   2      would be the patrol sergeants?
   3                 A.     Yes.
   4                 Q.     All right.      Now, aside from being
   5      informed about Fritz' performance on the job from
   6      complaints within the department or complaints
   7      within the department, how else would you come to
   8      be aware of Fritz' performance in the job, on the
   9      job during your time as captain at the Miami
   10     Township Police Department?
   11                A.     I don't recall anything specific, but,
   12     like I said, I had an open door policy.                    Anybody in
   13     the department was welcome to come and air their
   14     complaints.        I'd always send them to the
   15     appropriate person for, you know, for them to look
   16     into it.        It really wasn't something that I got
   17     involved in.
   18                Q.     Okay.     Am I correct in saying that the
   19     only way you would become aware of Fritz'
   20     performance on the job during your time as captain
   21     at the Miami Township Police Department was if
   22     people within the department came into your office
   23     with a complaint about Fritz; is that correct?
   24                               MS. JEWELL:     Objection.        I don't
   25     think that's what the testimony was.

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                                  Transcript of Marvin Scothorn
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   1                             THE WITNESS:     Not, I mean, yes,
   2      but not entirely.        I mean, I could observe things
   3      on my own.
   4      BY MR. SHUKUR:
   5                Q.   All right.
   6                A.   So --
   7                Q.   And what, sorry, how would you come
   8      about observing things related to Fritz'
   9      performance during your time as captain in the
   10     Miami Township Police Department?
   11               A.   It's like I told you earlier, something
   12     was referred to me, and I asked him about the
   13     paperwork, and he told me that it was all done.
   14     And I found out later that it wasn't done.               He
   15     didn't complete the paperwork until after the fact,
   16     so I would have, you know, had direct knowledge of
   17     that.    He was not real good about getting paperwork
   18     done.
   19               Q.   And by something being referred to you,
   20     that would mean if something were referred to you
   21     by somebody from records?
   22               A.   Could have been records.          It could have
   23     been dispatch.      It could have been somebody from
   24     outside the department.
   25               Q.   All right.      And now we're discussing

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                                  Transcript of Marvin Scothorn
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   1      all the ways you would become aware of Fritz'
   2      performance.      We've discussed your open door policy
   3      and people coming in to make complaints.                We've
   4      discussed something being referred to you by
   5      another member in the Miami Township Police
   6      Department.     Is there any other way you have become
   7      aware of Fritz' performance?
   8                A.   There's, I'm sure there is a variety of
   9      ways.    Those are the only things I recall at the
   10     time.
   11               Q.   Okay.     All right.     How would you assess
   12     Tim Wilson's, well, first, do you know Tim Wilson?
   13               A.   I do.
   14               Q.   All right.      How do you know Tim Wilson?
   15               A.   We started out as cadets in the
   16     department together, so we've been, we've been
   17     friends for almost 50 years.
   18               Q.   How would you assess Mr. Wilson's
   19     performance at the Miami Township Police Department
   20     during your time at the Miami Township Police
   21     Department?
   22               A.   He's a very, very good investigator.
   23     He is, he's good working with people.              He knows how
   24     to dig deep into an investigation and get the
   25     answers that he needs.         And he is a, he's a genuine

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                                     Transcript of Marvin Scothorn
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   1      well-rounded person.
   2                 Q.     Do you know John DiPietro?
   3                 A.     I do.
   4                 Q.     How do you know John DiPietro?
   5                 A.     John was in the department the same
   6      time I was.        He, when I left the department he was
   7      a sergeant.        And he, I've known him all that time.
   8                 Q.     DiPietro was a patrol sergeant?
   9                 A.     I'm not sure of that.          I know he was, I
   10     know his rank, but he had, he was a sergeant of,
   11     like, a liaison officer at one time, and so I don't
   12     know what he was at that particular time.
   13                Q.     All right.      How would you assess his
   14     performance on the job?
   15                A.     John's a very good, a very good police
   16     officer.        He tries very hard.        He's very, very
   17     interested in the profession, and he did very good
   18     work for the department.
   19                Q.     Do you know Scott Moore?
   20                A.     I do.
   21                Q.     How do you know Scott Moore?
   22                A.     He also works in the department.
   23                Q.     Did you know Scott Moore before he
   24     worked in the department?
   25                A.     Yes.

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                                 Transcript of Marvin Scothorn
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   1                 Q.   How did you know Scott Moore before he
   2      worked in department?
   3                 A.   He was Jim Moore's son, and he worked
   4      security at the Dayton Mall, I believe.
   5                 Q.   Did you see Scott Moore grow up from a
   6      pup?
   7                 A.   Not really, no.
   8                 Q.   All right.     But you had seen him before
   9      he joined department?
   10                A.   I did, yes.
   11                Q.   Where would you see Scott Moore before
   12     he joined the department?
   13                A.   As I said, he worked security in the
   14     mall.    And he would be in the department if he made
   15     an arrest in one capacity or another at the mall,
   16     they, he caught shoplifters so --
   17                Q.   The only time you saw Scott Moore
   18     before he joined the department was during Scott
   19     Moore's time working security at the mall; is that
   20     correct?
   21                           MS. JEWELL:     Can you repeat the
   22     question?
   23                           THE WITNESS:      Yeah.    I --
   24                           MS. JEWELL:     Hold on.     Let him
   25     repeat the question.         I just want to hear it real

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                                  Transcript of Marvin Scothorn
                                 Conducted on December 19, 2018                 39

   1      quick.
   2      BY MR. SHUKUR:
   3                Q.   The only time that you saw Scott Moore
   4      before he began working at the Miami Township
   5      Police Department was during Moore's time working
   6      security at the mall; is that correct?
   7                A.   Okay.     No.   It's not correct.          His
   8      father was with the department for a long time.                  My
   9      father was with the department for a long time.
   10     I'm sure that sometime prior to that I saw him, but
   11     I don't remember anything specific about that.
   12               Q.   Was your assessment of Mr. Moore's
   13     performance during his time or during your time at
   14     the Miami Township Police Department?
   15               A.   Mr. Moore was an excellent
   16     investigator.      He, he worked very hard.             He was
   17     very diligent.      He, he was willing to work a lot
   18     and dig into a case, and he generally got results.
   19               Q.   Did you know Stephen Gray?
   20               A.   I do.
   21               Q.   How do you know Stephen Gray?
   22               A.   He started out in the department
   23     working in records section, and then he became a
   24     patrol officer.
   25               Q.   I'm sorry.      Going back to Moore for a

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                                  Transcript of Marvin Scothorn
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   1      second --
   2                A.   Sure.
   3                Q.   Actually going to DiPietro, how would
   4      you describe your relationship with DiPietro?
   5                A.   I have a casual relationship with John.
   6      We talk occasionally, but not very frequently.
   7                Q.   Is it a particularly good or bad or
   8      friendly, or hostile memories stand out to you
   9      during your time or during your relationship with
   10     DiPietro?
   11               A.   With John?
   12               Q.   Yes.
   13               A.   I mean, John's a good guy.           I don't
   14     think I've ever had any arguments or serious
   15     disagreements with him.
   16               Q.   Okay.     And how would you describe your
   17     relationship with Mr. Moore?
   18               A.   I have no relationship with Mr. Moore
   19     at this stage.        I haven't seen him in more than 20
   20     years.
   21               Q.   How would you describe your
   22     relationship with Mr. Moore during your time at the
   23     Miami Township Police Department?
   24               A.   Rocky.
   25               Q.   Why would you your relationship with

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                                 Transcript of Marvin Scothorn
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   1      Mr. Moore at the time at the Miami Township Police
   2      Department as rocky?
   3                A.   How would I describe it?
   4                Q.   Why would you describe it as rocky?
   5                A.   Why would I describe it as rocky?             I
   6      didn't really care for him when he was working
   7      security at the mall.        He was very, very arrogant.
   8      He didn't, he just didn't fit what I believed to
   9      be, you know, you know, as a person.             He just
   10     seemed very arrogant.        I did not agree, and I had
   11     several conversations with his father.             I disagreed
   12     with the fact of bringing him on at the department
   13     because of those reasons, you know, a lot of cops
   14     are cocky.     He was a little more than that.             And I
   15     didn't care for him, didn't care for his
   16     personality.
   17               Q.   Why do you describe Mr. Moore as
   18     arrogant and more than cocky, well, during your
   19     time at Miami Township Police Department?
   20               A.   When he was involved even before he
   21     actually became part of the department, he was
   22     just, you know, the attitude, the air of his
   23     conversation was, you know, condescending and
   24     cocky.
   25               Q.   All right.      I'm trying to, you ever

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                                  Transcript of Marvin Scothorn
                                 Conducted on December 19, 2018                 42

   1      heard when you were in middle school you were
   2      learning how to write compositions, and they said,
   3      show me, don't tell me?
   4                A.   No.
   5                Q.   No, they didn't tell you that?              What's
   6      going on here?
   7                A.   I graduated from high school in 1970,
   8      so those were the good old days.
   9                Q.   All right.      Well, I'm trying to get a
   10     picture for why you would try to describe Moore as
   11     arrogant and cocky.        And part of your explanation
   12     was that he had an air of cockiness which doesn't
   13     help me in terms of visualizing it.             So if you can
   14     show me a little more, so aside from Mr. Moore,
   15     here's my question.
   16               A.   Okay.
   17                            MS. JEWELL:     Go ahead.        Ask the
   18     question.
   19                            MR. KAY:    You know my objection's
   20     coming, but go ahead.         You can finish your question
   21     first.
   22     BY MR. SHUKUR:
   23               Q.   All right.      I appreciate it.          Besides
   24     from Mr. Moore having, here's my question; aside
   25     from Mr. Moore having an air of being condescending

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                                  Transcript of Marvin Scothorn
                                 Conducted on December 19, 2018                 43

   1      and cockiness, why else do you describe Mr. Moore
   2      as being arrogant and more than cocky?
   3                             MR. KAY:    Objection to form.
   4      Asked and answered.
   5                             THE WITNESS:     I guess the easiest
   6      thing to describe it, and maybe you can visualize,
   7      my dad's the police chief, so you can't tell me
   8      what to do.
   9      BY MR. SHUKUR:
   10               Q.   Did Mr. Moore do anything that
   11     suggested or gave off an air of arrogance or
   12     cockiness, did he do anything in terms of actions?
   13               A.   He didn't do anything that I remember
   14     specifically.      It was just his attitude and his,
   15     and his, as you describe, air of confidence.
   16               Q.   All right.      And is this air of
   17     arrogance and cockiness the only reason you had a
   18     rocky relationship with Moore?
   19               A.   Can you be more specific?
   20               Q.   Well, earlier you described your
   21     relationship with Moore as rocky, correct?
   22               A.   Yeah.
   23               Q.   And I'm trying to understand why you
   24     describe your relationship with Moore as rocky.
   25     And in response to that question you said that he

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                                 Transcript of Marvin Scothorn
                                Conducted on December 19, 2018                  44

   1      had an air of arrogance and cockiness; is that
   2      correct?
   3                 A.    That's correct.
   4                 Q.    All right.    And I just want to know if
   5      we covered all the basis if the only reason you had
   6      a rocky relationship with Moore was, you know, his
   7      air of arrogance and cockiness.           So here's my
   8      question, aside from Moore having an air of
   9      arrogance and cockiness, was there any other reason
   10     you had a rocky relationship with Mr. Moore?
   11                A.    Well, during the course of the time
   12     that he was a patrol officer in the detective
   13     section, I just, he was just one of those guys that
   14     I didn't care for.       I didn't care for how he got on
   15     the department.       He kind of made that obvious to
   16     everyone that, you know, my dad's the police chief,
   17     you know.       So his dad and I had conversations about
   18     that, but, you know, I didn't, I didn't win that
   19     conversation.
   20                           But other than that, I mean,
   21     during the course of the time that he was, he was,
   22     you know, with the department, I don't know what
   23     specific that you're asking that, you know, okay?
   24     I don't remember any particular arguments that he
   25     and I had.       It's just that, you know, I didn't care

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                                 Transcript of Marvin Scothorn
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   1      for him.
   2                 Q.    Moving on to Mr. Gray.       How would you
   3      describe your relationship with Mr. Gray?
   4                 A.    It was casual.     He worked in the record
   5      section, and he was competent.           He did what he was
   6      told.    He was a bit immature, but he was a good
   7      guy.
   8                 Q.    Why do you say he was immature?
   9                 A.    He liked to joke around a lot and kind
   10     of play games and whatever.
   11                Q.    Do you know Rick Wolfe?
   12                A.    I know of Rick Wolfe, yeah.
   13                Q.    Have you ever been, well, you said you
   14     know of him.       Why do you say you know of him?
   15                A.    He was with the department in the '80s.
   16     I don't think I've seen him or talked to him since
   17     then.    So, I mean, I know who Rick Wolfe is, but if
   18     I bumped into him on the street, I probably
   19     wouldn't recognize him.
   20                Q.    Did you have a relationship with
   21     Mr. Wolfe in the '80s?
   22                A.    Well, we both worked at the department
   23     together.       I'm sure that we probably did some
   24     things together.       I dont' remember anything
   25     socially, just stuff within the department.               Other

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                                 Transcript of Marvin Scothorn
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   1      than that, I don't know whether he was there, and I
   2      was there at the same time, and that's pretty much
   3      it.
   4                Q.   So is it safe to say that, well, sorry,
   5      looking back, here's my question.            Looking back
   6      over your time at the department during which Rick
   7      Wolfe was also at the department, do you have any
   8      impressions of Mr. Wolfe or his performance?
   9                A.   Performance, no.       But what I do
   10     remember about Rick Wolfe was that he was a
   11     genuine, nice guy.       He seemed to get along with
   12     everyone.
   13               Q.   Do you know Keith Stapleton?
   14               A.   No.
   15               Q.   Have you ever known Keith Stapleton?
   16               A.   Not that I'm aware.
   17               Q.   Do you know Robert Miller?
   18               A.   No.
   19               Q.   Do you know if you've ever known Robert
   20     Miller?
   21               A.   I don't believe I have, no.
   22               Q.   Do you know David Burke?
   23               A.   No.
   24               Q.   Have you ever known David Burke?
   25               A.   Not that I'm aware of.

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                                  Transcript of Marvin Scothorn
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   1                 Q.   Do you know Robert Burke?
   2                 A.   Robert Burke?
   3                 Q.   Yes.
   4                 A.   No.
   5                 Q.   Have you ever known Robert Burke?
   6                 A.   No.
   7                 Q.   All right.     Now I'd like talk a little
   8      more about your time as captain of the Miami
   9      Township Police Department.
   10                A.   Would you mind if we took a little
   11     break so I can go to the bathroom?
   12                            MR. SHUKUR:     Of course.       Of
   13     course.     Off the record.
   14                            (WHEREUPON, a recess was taken.)
   15     BY MR. SHUKUR:
   16                Q.   We are back on the record.          All right.
   17     Mr. Scothorn, before we went on break, I told you
   18     I'd like to talk more about your time as captain at
   19     the Miami Township Police Department.              You were
   20     captain from 1990 to 1996, correct?
   21                A.   That's correct.
   22                Q.   All right.     As captain at the Miami
   23     Township Police Department, you were second of
   24     command?
   25                A.   Yes.

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                                 Transcript of Marvin Scothorn
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   1                Q.   All right.      And as second of command,
   2      you were in charge part of, or responsible for
   3      supervising people under you; is that correct?
   4                A.   That's correct.
   5                Q.   All right.      And that, that charge to
   6      supervise included insuring that your subordinates
   7      conducted ethical and thorough investigations?
   8                A.   In part, yes.
   9                            MR. HERMAN:     Objection, form.
   10                           MS. JEWELL:     Objection.
   11     BY MR. SHUKUR:
   12               Q.   All right.      It also included in part
   13     monitoring your subordinates' activities?
   14               A.   Through a chain of command.
   15               Q.   Through a chain of command.             All right.
   16     And you would also at times sort of observe your
   17     subordinates on the job as they were performing
   18     various law enforcement activities?
   19               A.   Less frequently.
   20               Q.   But you would do it?
   21               A.   Occasionally.
   22               Q.   Were your responsibilities, duties as
   23     captain sort of detailed in writing anywhere?
   24               A.   I'm sure they were.        I don't have any
   25     record of any of that.

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                                 Transcript of Marvin Scothorn
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   1                Q.   Why do you say you're sure they were?
   2                A.   Well, I don't recall anything, but I
   3      would assume that somewhere there was a job
   4      description.
   5                Q.   But you can't say whether or not you
   6      ever saw a job description?
   7                A.   I cannot say that I did, whether I have
   8      or not.
   9                Q.   As captain were you responsible also
   10     for helping to create department policies?
   11               A.   Technically, yes.
   12               Q.   You're certainly responsible in part
   13     for enforcing department policies?
   14               A.   To a point, to a limit, yes.
   15               Q.   All right.      And all of the
   16     responsibilities we've just detailed were carried
   17     out by you to the best of your abilities, correct?
   18               A.   Being responsible doesn't necessarily
   19     mean that I carried them out, but there was a chain
   20     of command.
   21               Q.   What do you mean by being responsible
   22     doesn't mean you carried them out?
   23               A.   Ultimately I'm responsible for people,
   24     but through the chain of command other individuals
   25     were responsible for other people that were working

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                                 Transcript of Marvin Scothorn
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   1      in the department.       And I was never a
   2      micro-manager, so as long as there was no need for
   3      me to get involved with things, I didn't get
   4      involved.
   5                 Q.    But you certainly made sure that your
   6      subordinates were doing their job, correct?
   7                            MS. JEWELL:     Objection, asked and
   8      answered.       Go ahead and answer.
   9                            THE WITNESS:      If I, you know, had
   10     a problem then I would, I would look into it.               I
   11     would talk to somebody, but on a day-to-day
   12     operation, I usually didn't get involved in
   13     anything.
   14     BY MR. SHUKUR:
   15                Q.    During your time as captain at the
   16     Miami Township Police Department, the lieutenant
   17     was in charge of supervising the detective
   18     sergeant?
   19                A.    That's correct.
   20                Q.    That's correct.     And your job in part
   21     was to make sure that the lieutenant was, in fact,
   22     supervising the detective sergeant; is that
   23     correct?
   24                           MS. JEWELL:     Objection.
   25                           THE WITNESS:      Again, if there was

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                                 Transcript of Marvin Scothorn
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   1      no issue then I usually didn't get involved.
   2      BY MR. SHUKUR:
   3                Q.   And, all right.       And so, and right now
   4      I understand your answer.          Right now I'm not
   5      asking, you know, if you got involved if there was
   6      no issue or not.       I'm just asking if that was a
   7      part of your sort of responsibility as captain it
   8      might not have been, but, you know, was it your
   9      responsibility as captain to make sure that the
   10     lieutenant was supervising the detective sergeant?
   11                           MS. JEWELL:     I'm sorry, can you
   12     repeat the last part of that question?
   13     BY MR. SHUKUR:
   14               Q.   Was it your responsibility as captain
   15     to make sure that the lieutenant was supervising
   16     the detective sergeant?
   17               A.   I'd have to say my responsibility, yes.
   18               Q.   Earlier you said if there was no issue
   19     you wouldn't get involved.          What do you mean by
   20     that?
   21               A.   I had other responsibilities within the
   22     department that didn't involve directly supervising
   23     people.    So if there was no issue, and no one was
   24     complaining, and I felt that the supervisors were
   25     doing their job, then there was no reason for me to

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                                 Transcript of Marvin Scothorn
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   1      become involved.
   2                 Q.   And these other issues that you had to
   3      deal with include the responsibilities you had as a
   4      lieutenant regarding records and dispatch, correct?
   5                 A.   Well, that also, but I did a lot of
   6      administrative duties as the captain.
   7                 Q.   And you said if there were not issues,
   8      and people weren't complaining then you wouldn't
   9      get involved in terms of whether people were
   10     supervising or not.        Now, what do you mean by if
   11     there was no issue?
   12                A.   If no one was complaining about the
   13     specific issue, I wasn't one to go downstairs and
   14     say, has anybody pissed you off today?             So I was
   15     not a micro-manager.
   16                Q.   All right.     All right.     In part of the,
   17     so here's my question, part of the lieutenant's
   18     duty during your time at the Miami Township Police
   19     Department was to make sure that the detective
   20     sergeant was supervising the detectives; is that
   21     correct?
   22                A.   That would be correct.
   23                Q.   Which means part of your responsibility
   24     was to make sure the lieutenant was ensuring that
   25     the detective sergeant was carrying out his

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                                 Transcript of Marvin Scothorn
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   1      supervisory responsibilities regarding detectives,
   2      correct?
   3                            MS. JEWELL:     Objection, asked and
   4      answered.
   5      BY MR. SHUKUR:
   6                 Q.   You can answer.
   7                 A.   Through the chain of command, yeah.
   8                 Q.   What do you mean through the chain of
   9      command?
   10                A.   There was, there were layers of
   11     supervisors below me.        I did not get involved in
   12     the day-to-day operations of pretty much anything
   13     unless there would become a reason for me to be
   14     involved.
   15                Q.   Right.   There would only become a
   16     reason for you to get involved if somebody came to
   17     you with a complaint; is that correct?
   18                A.   Or I saw something personal.
   19                Q.   All right.     How would you see something
   20     personal?
   21                A.   Not that anything like this ever
   22     occurred, but if I was say, driving down the road,
   23     and I saw a police cruiser pulled over doing
   24     something that would be inappropriate, I may
   25     contact his supervisor and say, hey, what is this

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   1      guy doing?      Something like that.
   2                 Q.   In other words, if you saw something by
   3      happenstance?
   4                 A.   Yes.
   5                 Q.   All right.     But you had never, you
   6      know, look for, you know, any indicia that
   7      something was awry or not; is that correct?
   8                 A.   I didn't look for problems.             I would
   9      sometimes maybe check and ask if everything was
   10     going okay, but I did not look for problems.
   11                Q.   What was the detective sergeant's
   12     responsibilities during your time as captain at the
   13     Miami Township Police Department?
   14                            MS. JEWELL:     Objection.        This has
   15     already been covered.         Go ahead.
   16                            THE WITNESS:     I don't remember
   17     specifically.      He was just overseeing the detective
   18     section.
   19     BY MR. SHUKUR:
   20                Q.   What do you mean by oversee the
   21     detective section?
   22                A.   He was there to assign cases to be, you
   23     know, there for assistance if someone needed
   24     something to help investigate on occasion to make
   25     connections with other authorities in the county

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                                 Transcript of Marvin Scothorn
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   1      that may need to have, you know, pretty much a
   2      person that could be a conduit between other
   3      departments and our department.
   4                Q.   Aside from the detective sergeant, who
   5      else would assign cases to detectives?
   6                A.   We had a detective corporal.
   7                            MR. KAY:     I'm sorry, what did you
   8      say?
   9                            THE WITNESS:      A detective
   10     corporal.
   11     BY MR. SHUKUR:
   12               Q.   Where did the detective corporal fit in
   13     the chain of command?
   14               A.   He was below the detective sergeant,
   15     and he filled in in place of or in the stead of the
   16     detective sergeant when the detective sergeant
   17     wasn't available for one reason or another.
   18               Q.   Who was the detective corporal in 1990?
   19               A.   I'm not sure.
   20               Q.   You're sure that the position of
   21     detective corporal did exist in 1990?
   22               A.   I'm sure that it existed.
   23               Q.   So aside from filling in for the
   24     detective sergeant in the event of the detective
   25     sergeant's absence, what were the other

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   1      responsibilities of the detective corporal?
   2                A.   He carried his own caseload.
   3                Q.   And the other responsibilities?
   4                A.   Like I said, he stood in for the
   5      detective sergeant when the detective sergeant
   6      needed, you know, wasn't available for one reason
   7      or another.
   8                Q.   So aside from the detective sergeant
   9      and the detective corporal, who else would assign
   10     cases to detectives?
   11               A.   No one that I'm aware.
   12               Q.   And just so I understand, no one else
   13     aside from, or I'm sorry.          Here's my question.        You
   14     do not recall anyone else besides the detective
   15     sergeant and the detective corporal assigning cases
   16     to detectives; is that correct?
   17               A.   That's correct in the, for your
   18     question, yes.      Some cases automatically went to
   19     the detective section depending on what they were,
   20     like, a homicide or, you know, sometimes a suicide.
   21     It would go directly to the detective section in
   22     their, sometimes someone was on call.             And he would
   23     get the case because he was, he was on call at the
   24     time of the occurrence.
   25               Q.   All right.

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   1                A.   And then he wouldn't, in your
   2      definition or my definition, he wouldn't actually
   3      be assigned that case.         It would be something that
   4      he acquired because of his position.
   5                Q.   Who would he get the call from?
   6                A.   From the road sergeant.
   7                Q.   From the road sergeant.         Was the road
   8      sergeant, the road sergeant one of the four patrol
   9      sergeants?
   10               A.   Yes.
   11               Q.   During your time as captain the road
   12     sergeant would only give a detective a call or
   13     assign a case to, well, not assign a case.               Here's
   14     my question, a detective would only get a call from
   15     a road sergeant regarding a case through your time
   16     as captain if -- actually, scratch that question.
   17     A series of bad questions.
   18                           Under what circumstances would a
   19     road sergeant give a detective a call about a case?
   20               A.   It would depend on the circumstances of
   21     the case and the magnitude of the case whether it
   22     be a homicide or, like I said, some suicides.               If
   23     there were extenuating circumstances to a case,
   24     even maybe a missing person, they would call and
   25     say, you know, hey, you know, the detectives need

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                                 Transcript of Marvin Scothorn
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   1      to look at this case.        And then depending on what
   2      it was, whether or not the detective section would
   3      actually, you know, investigate it.            But most times
   4      they would, whoever was on, whoever the detective
   5      was on call would take the case.
   6      BY MR. SHUKUR:
   7                 Q.   All right.     So the road sergeant would
   8      sometimes contact detectives directly instead of
   9      contacting the detective sergeant; is that correct?
   10                A.   That's correct.
   11                Q.   Who is the road sergeant in 1990?
   12                A.   I couldn't really tell you.            I don't
   13     know.     It's been, it's been a long time.             In
   14     1990 --
   15                           MS. JEWELL:     Just answer the
   16     question asked.
   17                           MR. SHUKUR:     That's, that's not an
   18     objection.      That's just coaching.        One second.
   19     I'll ask that you refrain from coaching again just
   20     because it impairs my ability to conduct the
   21     deposition.
   22     BY MR. SHUKUR:
   23                Q.   All right.     So what were you saying?
   24                A.   I don't know who the particular road
   25     sergeant was at the time.          I couldn't even tell you

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   1      exactly who was there and who worked what shift.
   2                Q.   All right.
   3                A.   It's been a long time ago, and it's not
   4      something that I committed to memory.             So we had
   5      several sergeants and sometimes they, you know,
   6      they were there.       Sometimes they weren't.         We also
   7      had corporals that worked the streets, so I don't
   8      know who, anybody specific.
   9                Q.   Understood.      If a case was transferred
   10     from one detective to another detective during your
   11     time as captain who would transfer the case or
   12     assign the case?
   13               A.   Can you give me a little bit of, just
   14     you need, you just want to know what now?
   15               Q.   If a detective was investigating a
   16     case, so let's say a detective named John was
   17     investigating a case and then the detective left
   18     the department, who would reassign the case?
   19               A.   I would assume if there was no
   20     detective --
   21                           MS. JEWELL:     Don't assume.       Answer
   22     the question.
   23                           MR. SHUKUR:     Again, we're going to
   24     have to stop coaching.
   25                           MS. JEWELL:     I'm not coaching.

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                                 Transcript of Marvin Scothorn
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   1                            MR. SHUKUR:     That's not an
   2      objection, though.
   3                            MS. JEWELL:     It's fine.       He said,
   4      I assume.
   5                            MR. SHUKUR:     I'm just saying the
   6      proper role is to object if there's an
   7      objectionable question.         To literally coach
   8      witnesses during the deposition --
   9                            MS. JEWELL:     I'm not coaching him.
   10     Go ahead, and ask your question.
   11                           MR. SHUKUR:     Was that an
   12     objection?     I'm trying to resolve a discovery
   13     dispute before we have to get the court involved
   14     because more than twice now you've given the
   15     witness coaching on the record, certain --
   16                           MS. JEWELL:     Do you want him to
   17     assume or not?
   18                           MR. SHUKUR:     Certainly didn't make
   19     an objection, and it's improper.
   20                           MS. JEWELL:     But do you want him
   21     to assume or not?
   22                           MR. SHUKUR:     I don't want to get
   23     the court involved.
   24                           MS. JEWELL:     Me either.       Do you
   25     want him to assume or not?

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                                 Transcript of Marvin Scothorn
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   1                            MR. SHUKUR:     So, I would like, I
   2      would like for you to make proper objections.
   3                            MS. JEWELL:     I would like for him
   4      not to guess or speculate, and I'm sure everybody
   5      in here would tell him not to guess or speculate.
   6                            MR. SHUKUR:     I understand.       So can
   7      you tell him that now and not before, you know,
   8      before he answers one of my questions.             You can
   9      tell him right now but to repeatedly do it --
   10                           MS. JEWELL:     Well, he says, I
   11     assume.     I don't know what his answers are going to
   12     be.
   13                           MR. SHUKUR:     You know that's
   14     improper.
   15                           MS. JEWELL:     Well, I don't know
   16     what his questions are going to be.            When I hear
   17     him say, I assume, I'm going to cut him off.
   18                           MR. SHUKUR:     I understand, and
   19     that's improper.
   20                           MS. JEWELL:     There's no difference
   21     if I tell him right now or if he says I assume.
   22                           MR. SHUKUR:     I'm just saying it is
   23     different because it's literally coaching him.
   24                           MS. JEWELL:     It doesn't change his
   25     answer.     He's already saying he's assuming.

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                                  Transcript of Marvin Scothorn
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   1                             MR. SHUKUR:     The next time I will
   2      get the court involved.
   3                             MS. JEWELL:     That's fine.       Do you
   4      understand that you're not to guess or speculate?
   5                             THE WITNESS:     I understand.
   6                             MS. JEWELL:     So if you have to
   7      assume or speculate, don't answer.              Just say, I
   8      don't understand or I don't know.             And then he can
   9      ask a follow up question, okay?
   10                            THE WITNESS:     Okay.
   11                            MR. SHUKUR:     All right.       And
   12     you're more than welcome to tell him that again
   13     during a break but not during our examination.
   14     Obviously next time I am going to call the court.
   15                            MS. JEWELL:     That's fine.       You can
   16     do what you need to, and I'll do what I need to.
   17     BY MR. SHUKUR:
   18               Q.   Great.     All right.      So who would
   19     reassign cases to detectives after a detective left
   20     the department during your time as a captain at the
   21     Miami Township Police Department?
   22               A.   It would be someone within the
   23     detective section, whether the corporal or the
   24     lieutenant depending on the circumstances.
   25               Q.   Okay.     All right.     Earlier we discussed

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                                 Transcript of Marvin Scothorn
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   1      your, or the ways in which you would supervise your
   2      subordinates as captain.         And what you made sure
   3      your subordinates sort of did, one of those things
   4      we discussed was ensuring that your subordinates
   5      conducted ethical investigations.            How would you
   6      ensure that your subordinates conducted ethical
   7      investigations?
   8                A.   If the, if they were doing an
   9      investigation, and there were no one, if I seen
   10     anything inappropriate or if they completed the
   11     investigation and went to the prosecutor's office
   12     to obtain charges.
   13                           (WHEREUPON, Mr. Deters exited the
   14     room.)
   15                           THE WITNESS:      And the prosecutor's
   16     office didn't see anything unethical, then why am I
   17     to assume that they did?
   18     BY MR. SHUKUR:
   19               Q.   So how would you come about seeing
   20     whether or not you saw anything unethical
   21     throughout, your subordinates were conducting
   22     investigations?
   23               A.   As I said earlier, there were several
   24     layers between me and the detectives.             I would, you
   25     know, I would, you know, you know, if there were

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                                 Transcript of Marvin Scothorn
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   1      something specifically come up, I would ask
   2      questions about it, but I wouldn't go to the
   3      detective.      I would go to the lieutenant and then
   4      down the chain of command.          So I didn't have a lot,
   5      if any, direct contact with them.            If there were
   6      something unethical going on or we received some
   7      kind of a complaint from somebody from the courts,
   8      from an attorney, from a complainant, whatever,
   9      then we would deal with it, you know, as needed,
   10     you know, on a case-by-case basis, but nothing, you
   11     know, we didn't go searching for problems.
   12                Q.   During your time as captain you
   13     reviewed a number of reports authored by
   14     detectives, correct?
   15                A.   No.
   16                Q.   During your time as captain did you
   17     ever review a report authored by a detective?
   18                A.   Not a part of my job, no.
   19                Q.   I'm not asking if it was a part of your
   20     job.   I'm trying to see is if you ever read a
   21     report authored by a detective during your time as
   22     captain?
   23                A.   Not that I recall.
   24                Q.   Then earlier during your conversation
   25     you said that you would monitor the activities of

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                                 Transcript of Marvin Scothorn
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   1      your subordinates through the chain of command,
   2      correct?
   3                 A.    That is correct.
   4                            (WHEREUPON, Mr. Deters entered the
   5      room.)
   6      BY MR. SHUKUR:
   7                 Q.    All right.    What do you mean by
   8      monitoring activities through the chain of command?
   9                 A.    I would sometimes ask questions about
   10     specific things that I had seen or heard or if
   11     someone came to me with something whether it be a
   12     problem or just in conversation then I would say,
   13     hey, John told me this.          What's the story behind
   14     that?    And then they would tell me the story.              And
   15     then I would say, okay.          Have you taken care of it?
   16     Yeah.    It's been taken care of.         And that was that.
   17                Q.    So is it correct, sorry.        Here's my
   18     question.       So is it correct that you would monitor
   19     the activities of your subordinates through the
   20     chain of command in response to something that you
   21     saw or heard?
   22                A.    Not only for something that I saw or
   23     heard.
   24                Q.    All right.    Under what other
   25     circumstances?       Go ahead.

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                                   Transcript of Marvin Scothorn
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   1                 A.   It could be just a question of
   2      something that I, that I, you know, I thought about
   3      or I was curious about.
   4                 Q.   Did you have routine performance
   5      reviews during your time as captain?
   6                 A.   Yes.
   7                 Q.   Describe these routine performance
   8      reviews.
   9                              MS. JEWELL:     I'm sorry, before you
   10     answer, are you asking about, just for
   11     clarification for my sake, are you asking for
   12     performance reviews on other employees at Miami
   13     Township or did he himself have a performance
   14     review?
   15     BY MR. SHUKUR:
   16                Q.   Both.
   17                A.   Okay.     We did have performance reviews.
   18     I don't remember specifics about them.               They were
   19     made up by, I believe someone from Wright State
   20     University supplied to us, and I had one, but it
   21     was similar, just basically the changes were
   22     because of job position.
   23                Q.   All right.      The performance reviews
   24     produced by Wright State University were in
   25     writing?

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   1                A.   Yes.
   2                Q.   Do you have a copy of any of these
   3      performance reviews?
   4                A.   I do not.
   5                Q.   Now, I'd like to discuss the
   6      performance reviews of your subordinates.              During
   7      these performance reviews would you meet one-on-one
   8      with your subordinates?
   9                A.   Yes.
   10               Q.   All right.      You would meet one-on-one
   11     with the lieutenant?
   12               A.   Yes.
   13               Q.   You would meet one-on-one with each of
   14     the sergeants?
   15               A.   No.
   16               Q.   How often would you have a performance
   17     review meeting with the lieutenant?
   18               A.   Annually.
   19               Q.   Would this performance review be
   20     documented in any way?
   21               A.   It was, yes.      It would have been
   22     documented.     But it would be inserted in their
   23     personnel file.
   24               Q.   And how would it be documented?
   25               A.   In writing.      It would be a question and

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                                  Transcript of Marvin Scothorn
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   1      answer type thing.
   2                 Q.   And the questions were the questions
   3      produced by Wright State University?
   4                 A.   Yes.
   5                 Q.   Were there any additional questions on
   6      the performance review aside from the questions
   7      produced by Wright State University?
   8                 A.   It could be.      It depends on if someone
   9      has specific questions about, you know --
   10                            (WHEREUPON, Mr. Kay exited the
   11     room.)
   12                            THE WITNESS:     You know, the
   13     performance, and the questions on the performance
   14     review didn't actually cover to the extent that
   15     they were interested.
   16                            MR. SHUKUR:     All right.
   17     BY MR. SHUKUR:
   18                Q.   Were the questions produced by, and by
   19     someone, sorry, here's my question.             By someone
   20     you're referring to whom, if someone had an
   21     additional question?
   22                A.   Whoever was doing the performance
   23     review.
   24                Q.   All right.     I want to only talk about
   25     you.     And you were doing the --

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   1                A.   So what I did was the aside from the
   2      detective sergeant.        Lieutenant.
   3                Q.   Right.     The only one you did was
   4      lieutenant, and you would conduct your performance
   5      review of the lieutenant by having a meeting and
   6      asking a series of questions made by Wright State
   7      University in writing, correct?
   8                A.   Yes.     To the best of my knowledge, yes.
   9                Q.   To the best of your knowledge.            And in
   10     addition to the questions produced by Wright State
   11     University did you ever ask any other questions and
   12     document the response in writing?            Yeah.
   13               A.   Any question that I ask in addition to
   14     what was in the performance review would have been
   15     documented in the same performance review.
   16               Q.   Did you, and do you remember asking any
   17     additional questions aside from the questions
   18     produced by Wright State University?
   19               A.   I don't remember anything specific, no.
   20               Q.   These performance reviews that we've
   21     been discussing were documented in 1990, correct?
   22                           MS. JEWELL:     Objection.
   23                           THE WITNESS:      I don't know that
   24     for sure, no.
   25     BY MR. SHUKUR:

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   1                Q.   So you don't know whether it was or was
   2      not documented in writing in 1990?
   3                A.   The performance we did, the performance
   4      reviews we did were documented, but I don't know if
   5      it actually occurred in 1990 or it actually
   6      occurred in 1991 or if, you know, the previous
   7      year, it was in 1989.        I don't know what year it
   8      was actually produced.
   9                Q.   All right.      Were the performance
   10     reviews taylored to each specific position, so were
   11     the performance review questions produced by Wright
   12     State University different for the lieutenant than
   13     they were for, let's say, the captain, for you?
   14               A.   That's correct.
   15                           MR. HERMAN:     Objection.
   16     BY MR. SHUKUR:
   17               Q.   All right.      During your time as captain
   18     you had the occasion to observe a detective
   19     performing an investigative task or investigatory
   20     task at least once, correct?
   21               A.   Correct.
   22               Q.   All right.      Did you observe a detective
   23     perform a task, investigative tasks on multiple
   24     occasions?
   25               A.   Yes.

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   1                Q.   When would you decide or, yeah, when
   2      would you decide whether or not to observe a
   3      detective in the performance of their duties?
   4                A.   It generally wasn't by choice.            It was,
   5      like, it called out on because of the type of
   6      offense that they were investigating, homicide, you
   7      know, robbery.       I would be called out to observe.
   8                Q.   Would you be ever be called out to a
   9      rape investigation?
   10               A.   I don't recall any time I was ever
   11     called out to a rape investigation.
   12               Q.   Did you only observe detectives
   13     performing investigative tasks when you were called
   14     out?
   15               A.   Can you be a little bit more specific?
   16                           (WHEREUPON, Mr. Kay entered the
   17     room.)
   18     BY MR. SHUKUR:
   19               Q.   Well, first, who would call you out to
   20     a scene where, as a site or whatever, sorry, that's
   21     a bad question.       When you say you would respond to
   22     being called out to, I guess, assist a detective?
   23               A.   No.    I would be called out because of
   24     the severity of the crime, a specific crime.
   25     There, you know, a homicide, multiple homicide.

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   1      Sometimes, you know, if there was extenuating
   2      circumstances around a robbery, I was called out
   3      to, you know, officer-involved shooting, so those
   4      type of things.
   5                Q.    You would be called out by whom?
   6                A.    I would be called out by whoever was in
   7      charge of the scene.          That would be, generally
   8      speaking, that would be the patrol sergeant.
   9                Q.    Okay.     Did you ever have the occasion
   10     to observe a detective on the job during your time
   11     as captain at the Miami Township Police Department
   12     other than when you were called out by somebody at
   13     the scene of a crime?
   14               A.    You mean observed the investigation?
   15               Q.    Yes.
   16               A.    No.
   17               Q.    And earlier you said that you were
   18     technically responsible for creating department
   19     policies.      Please tell me why you say that you were
   20     technically responsible for creating department
   21     policies?
   22               A.    We had an employee that did
   23     departmental, that created policies for our
   24     accreditation program.          She would get advice,
   25     documents from other departments to help create

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   1      those documents so that she didn't have to
   2      continually reinvent the wheel.           She was, she
   3      reported directly to me.         So technically I was, you
   4      know, in charge of that, but when it comes to the
   5      policies, she would present a policy to me.               Then I
   6      would, I reviewed the policy.           If I thought it was
   7      okay, then it would go to a small board that we had
   8      that.    This is the policy we're presenting, you
   9      know.    Does this, does it meet everybody's
   10     understanding?      Is this clear enough?         And do, you
   11     know, do we want to go farther?           Did we go too far?
   12                           So it wasn't, so we had like a
   13     little committee that we reviewed those things.                So
   14     technically I was in charge of her, but I did not
   15     have the ultimate say on whether a policy was
   16     created or disposed of.
   17               Q.   The department was accredited around
   18     1994?
   19               A.   That's correct.
   20               Q.   All right.      Before 1994 you carried
   21     some of the responsibility for creating the
   22     department policies or were there any policies?
   23               A.   My answer to that would have to be no.
   24               Q.   Were there any policies before '94?
   25               A.   There was.

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                                 Transcript of Marvin Scothorn
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   1                Q.   Who was responsible for creating the
   2      policies?
   3                A.   The police chief and the lieutenant.
   4      Prior to that I did not have any involvement in
   5      that.
   6                Q.   During your time as captain at the
   7      Miami Township Police Department, did you ever
   8      discipline any detective?
   9                            MS. JEWELL:     Objection.
   10                           THE WITNESS:      I had the authority
   11     to discipline only up to an oral reprimand.                And
   12     specifically did I ever discipline a detective?                  I
   13     don't recall ever disciplining specifically a
   14     detective.
   15     BY MR. SHUKUR:
   16               Q.   You said you have the authority to
   17     discipline up to an oral reprimand?
   18               A.   I'm sorry.      Did I say oral?         I meant
   19     written reprimand.
   20               Q.   When you say you have the authority to
   21     discipline up to a written reprimand, do you mean
   22     that you have the authority to discipline any of
   23     your subordinates up to a written reprimand?
   24               A.   Yes.
   25               Q.   What were the other types of

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                                 Transcript of Marvin Scothorn
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   1      disciplinary actions that you could have carried
   2      out as captain of the Miami Township Police
   3      Department?
   4                A.   I had two options, oral reprimand,
   5      written reprimand.       Those were my two options.           If
   6      there was anything more than that or I felt that
   7      there was more discipline needed, then I had to
   8      kick it up to the police chief.
   9                Q.   During your time as captain, did you
   10     ever discipline anybody by issuing a written
   11     reprimand?
   12               A.   Yes.
   13               Q.   Who did you discipline?
   14               A.   I don't recall anybody specific or any
   15     reason specific at this point.
   16               Q.   Did you issue multiple written
   17     reprimands during your time as captain at the Miami
   18     Township Police Department?
   19               A.   Over the course of my tenure I'm
   20     assuming that I did at least more than one or two.
   21               Q.   Did you issue any oral reprimands
   22     during your time as captain at the Miami Township
   23     Police Department?
   24               A.   Again, during my tenure, I, you know,
   25     I'm sure more than one or two.

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                                 Transcript of Marvin Scothorn
                                Conducted on December 19, 2018                  76

   1                Q.   Do you remember any specific instance
   2      of you issuing an oral reprimand during your time
   3      as captain?
   4                A.   Oral and written reprimand are
   5      relatively for minor offenses.           So I wouldn't, it's
   6      not something that I would recall.
   7                Q.   During your time as captain, did you
   8      ever refer one of your subordinates to the police
   9      chief for discipline?
   10               A.   Yes.
   11               Q.   Who did you refer to the police chief
   12     for discipline?
   13               A.   Ed Wilson.
   14               Q.   When did you refer Ed Wilson to the
   15     police chief?
   16               A.   I don't recall specifically when.            I
   17     believe it was in the early '90s.
   18               Q.   Why did you refer Ed Wilson to the
   19     police chief?
   20               A.   He beat up his wife.
   21               Q.   Aside from Ed Wilson, did you refer any
   22     of other subordinates to the police chief for
   23     discipline during your time as captain?
   24               A.   I don't recall anyone else.
   25               Q.   All right.      Now, part of Miami Township

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                                     Transcript of Marvin Scothorn
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   1      Police Department law enforcement officer's
   2      responsibilities during your time there or during
   3      your time as captain was to turn over discovery to
   4      the prosecutors; is that right?
   5                 A.     That would, yes.
   6                 Q.     Explain for me how or sort of the Miami
   7      Township Police Department's practice regarding
   8      turning over discovery to prosecutors from about
   9      '88 to '91?
   10                A.     I never worked in the detective
   11     section.        I don't remember ever being involved in
   12     that, so I couldn't tell you exactly what their
   13     process is because I don't recall, and I don't know
   14     that I ever knew because I never dealt directly
   15     with the prosecutor's office like that.
   16                Q.     Okay.     So you don't believe you ever
   17     knew about the practice in the Township regarding
   18     turning over discovery to prosecutors?
   19                               MS. JEWELL:     Objection.
   20                               MR. HERMAN:     Objection.
   21     BY MR. SHUKUR:
   22                Q.     Is that correct?
   23                A.     Yes.     I don't believe I ever knew then.
   24                Q.     Now, in addition to turning over
   25     discovery to prosecutors, another responsibility

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                                 Transcript of Marvin Scothorn
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   1      that Miami Township Police Department law
   2      enforcement officers had from, during your time at
   3      the department was to retain evidence as well, to
   4      preserve evidence prior to someone being put on
   5      trial or convicted, correct?
   6                            MS. JEWELL:     Objection.
   7                            MR. HERMAN:     Objection.
   8                            THE WITNESS:      We had a property
   9      room where we stored property for certain
   10     instances.     If it was, if it was involved in a
   11     crime it may go to the crime lab.
   12     BY MR. SHUKUR:
   13               Q.   All right.      And aside from placing
   14     evidence in a property room or to a crime lab or
   15     giving the property to the crime lab, how else
   16     would the Miami Township Police Department preserve
   17     evidence during your time at the department?
   18                           MR. HERMAN:     Objection.
   19                           THE WITNESS:      We stored it in a
   20     property room.      Depending on what the case was, it
   21     was logged into the logbook and stored on, you
   22     know, in a room full of shelves.
   23     BY MR. SHUKUR:
   24               Q.   In addition to preserving evidence, the
   25     Miami Township Police Department law enforcement

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                                 Transcript of Marvin Scothorn
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   1      officers also had the duty to preserve written
   2      reports relating to criminal investigations
   3      conducted by the department, correct?
   4                A.   Yes.
   5                            MS. JEWELL:     Objection.
   6                            MR. HERMAN:     Objection.
   7      BY MR. SHUKUR:
   8                Q.   What was the practice for preserving
   9      the written reports during your time at the Miami
   10     Township Police Department?
   11               A.   When a report was finished, and not
   12     necessarily the entire report but the initial
   13     report, it was submitted to the records for them to
   14     log it and file it.        And then as the case
   15     continued, they did supplemental reports, and those
   16     also would have gone to the record section and been
   17     filed with the original reports.
   18                           MR. HERMAN:     Omavi, you may want
   19     to have him clarify, and maybe I can do it later on
   20     because I know earlier he talked about
   21     transitioning to a computer based system.
   22                           MR. SHUKUR:     I'm getting there.
   23                           MR. HERMAN:     Because that was kind
   24     of broad, and he generally answered your questions.
   25                           MR. SHUKUR:     I'm getting there.

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                                 Transcript of Marvin Scothorn
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   1      I'm getting there.
   2                            MR. HERMAN:      All right.
   3      BY MR. SHUKUR:
   4                 Q.   All right.     Okay.    And once
   5      supplemental reports would go to records to be
   6      filed along with written reports, what would
   7      records do with the reports?
   8                            MR. HERMAN:      Objection.
   9                            MS. JEWELL:      Objection.
   10                           THE WITNESS:      They were filed.
   11     BY MR. SHUKUR:
   12                Q.   Where?
   13                A.   With the original report.
   14                Q.   Where would it be filed in a, sorry.
   15     In, let's say, this talked specifically before
   16     computerized recordkeeping was implemented, okay?
   17                A.   Uh-huh.
   18                Q.   So before computerized recordkeeping
   19     was implemented by the department an officer would
   20     file an initial report to records to log and file
   21     and then filed any supplemental reports to records
   22     to be filed along with the initial report; is that
   23     correct?
   24                A.   That is correct.
   25                Q.   All right.     Now, where would the

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                                 Transcript of Marvin Scothorn
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   1      initial report be filed before computerized
   2      recordkeeping was implemented?
   3                            MS. JEWELL:     Objection.
   4                            THE WITNESS:      The initial report
   5      would be number and logged in a file created for
   6      it, and it would be kept in a file cabinet in the
   7      property room.      And any supplements would have gone
   8      through the same process.
   9      BY MR. SHUKUR:
   10                Q.   And it would be in the file cabinet in
   11     which room?
   12                A.   The property room.
   13                Q.   Before the implementation of
   14     computerized recordkeeping would supplemental
   15     reports sometimes not be filed with the proper
   16     initial report and the property room?
   17                           MS. JEWELL:     Objection.
   18                           MR. HERMAN:     Objection.
   19                           THE WITNESS:      Not that I'm aware.
   20     BY MR. SHUKUR:
   21                Q.   So you do not remember any instance of
   22     a supplemental report not being filed with the
   23     proper initial report in the property room; is that
   24     correct?
   25                A.   That's correct.

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                                 Transcript of Marvin Scothorn
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   1                 Q.   All right.     After the implementation of
   2      computerized recordkeeping, actually here is my
   3      question, how did the implementation of
   4      computerized recordkeeping change the department's
   5      practice of recordkeeping regarding police reports,
   6      if at all?
   7                 A.   We did both for a while.         We did paper
   8      reports, and we also did computerized reports.                And
   9      they, until we reached a point where everybody was
   10     comfortable with the computer, then we, we
   11     maintained the paper copies.          Then after the
   12     computers were implemented, then the officers
   13     started doing their paperwork on the computer, and
   14     they printed out the reports and then filed the
   15     reports.
   16                Q.   Even after the implementation of
   17     computerized recordkeeping there was still a system
   18     for filing paper copies of police reports; is that
   19     correct?
   20                A.   That's correct.
   21                Q.   All right.     And were officers required
   22     to still produce and file paper copies of police
   23     reports or was this optional?
   24                           MR. HERMAN:     Objection.
   25                           MS. JEWELL:     Objection.

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                                 Transcript of Marvin Scothorn
                                Conducted on December 19, 2018                  83

   1                            THE WITNESS:      It was mandatory.
   2      BY MR. SHUKUR:
   3                Q.    All right.     What was the Miami Township
   4      Police Department's practice related to or, yeah,
   5      relating to photo lineup procedures during your
   6      time as captain of, yeah, captain at the Miami
   7      Township Police Department?
   8                            MR. HERMAN:     Objection.
   9                            THE WITNESS:      I don't recall
   10     having a specific policy about that.             I've never
   11     done one.      I never had the instance that I needed
   12     to do a photo lineup.
   13     BY MR. SHUKUR:
   14               Q.    So you don't recall any specific policy
   15     governing photo lineup procedures --
   16               A.    I don't recall.
   17               Q.    -- during your time as captain at the
   18     Miami Township Police Department?
   19               A.    I don't recall one, no.
   20                           MR. HERMAN:     Objection.
   21                           MS. JEWELL:     Objection.       I think
   22     his testimony is that he is not aware of it.
   23     BY MR. SHUKUR:
   24               Q.    Do you recall any policy during your
   25     time as captain at the Miami Township Police

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                                     Transcript of Marvin Scothorn
                                    Conducted on December 19, 2018              84

   1      Department governing the production of discovery to
   2      the prosecutors?
   3                                MS. JEWELL:     Objection.
   4                                MR. HERMAN:     Objection.
   5                                MR. KAY:    Objection, foundation,
   6      asked and answered.
   7                                THE WITNESS:     I don't recall.
   8      BY MR. SHUKUR:
   9                 Q.     And I've already asked you about the
   10     Township's practice regarding the retention of
   11     records.        Do you recall any policy governing the
   12     Township's retention of records during your time as
   13     captain at the Miami Township Police Department?
   14                               MS. JEWELL:     Objection.
   15                               MR. HERMAN:     Objection.
   16                               THE WITNESS:     Can you ask that
   17     again?
   18     BY MR. SHUKUR:
   19                Q.     All right.      Remember we talked about
   20     the duty to keep copies of initial and supplemental
   21     reports at the Miami Township Police Department?
   22                A.     Yes.
   23                Q.     Okay.     And we talked about the
   24     department's practice regarding keeping the initial
   25     and supplemental reports, correct?

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                                    Transcript of Marvin Scothorn
                                   Conducted on December 19, 2018               85

   1                 A.     Yes.
   2                 Q.     All right.     Now, since we already
   3      talked about the practice, I'm asking you do you
   4      recall any policy governing the storage and
   5      retention of initial and supplemental police
   6      reports during your time as captain?
   7                               MS. JEWELL:     Objection.
   8                               THE WITNESS:     I'm certain there
   9      was a policy, but I don't recall what it was.
   10     BY MR. SHUKUR:
   11                Q.     Do you recall ever seeing a written
   12     policy governing the storage and retention of
   13     initial and supplemental police reports during your
   14     time as captain?
   15                A.     I don't recall anything, no.
   16                Q.     We just discussed during your time as
   17     captain.        How about during your time as lieutenant,
   18     do you recall ever seeing a written policy
   19     governing the retention and storage of initial and
   20     supplemental police reports?
   21                A.     During the time between when I became
   22     lieutenant and the time when we became
   23     internationally accredited, we did a lot of policy
   24     making, and we eliminated policy and added policy
   25     and changed policy.          So I don't remember anything

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                                     Transcript of Marvin Scothorn
                                    Conducted on December 19, 2018              86

   1      specific about what exists and what doesn't.
   2                 Q.     All right.      And thank you for that.
   3      And so is it safe to say that you don't recall
   4      seeing a written policy governing the storage and
   5      retention of initial and supplemental reports
   6      during your time at the Township Police Department
   7      before you became captain?
   8                                MR. HERMAN:     Objection.
   9                                MS. JEWELL:     Objection.
   10     BY MR. SHUKUR:
   11                Q.     You can answer.
   12                A.     I don't recall seeing it.
   13                Q.     You just said you don't recall seeing
   14     it.   Do you recall the department having an actual
   15     policy governing the retention and storage of
   16     initial and supplemental reports during your time
   17     as lieutenant or during your time as captain?
   18                A.     I'm certain that there was one.
   19                Q.     All right.      Do you recall the details
   20     of it?
   21                A.     No.
   22                Q.     Okay.     And you're certain that there
   23     was one.        Can you say for sure that one, in fact,
   24     existed?        Are you certain that one, in fact,
   25     existed?

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                                    Transcript of Marvin Scothorn
                                   Conducted on December 19, 2018               87

   1                               MS. JEWELL:     Objection.       It's been
   2      asked and answered numerous times.
   3                               MR. HERMAN:     Objection.
   4      BY MR. SHUKUR:
   5                 Q.     You can answer.
   6                 A.     Yes.
   7                 Q.     Why are you so certain?
   8                 A.     Because we were internationally
   9      accredited.
   10                Q.     And are you certain that the policy
   11     existed before you were accredited?
   12                A.     I'm certain that we created it during
   13     that time.
   14                              MS. JEWELL:     Do you understand his
   15     question?
   16                              THE WITNESS:     He's asking me if we
   17     had, if --
   18     BY MR. SHUKUR:
   19                Q.     So, let's say, so you were accredited
   20     in 1994, correct?
   21                A.     Yes.
   22                Q.     All right.     And forgive me if I'm being
   23     unclear.        You're free to ask for clarification if
   24     you don't understand any of my questions.
   25     Otherwise, I'm just going to assume that you

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   1      understand.
   2                A.   Okay.
   3                Q.   Does that make sense?
   4                A.   Yeah.
   5                Q.   All right.      So from '88, from about
   6      1988 to 1991, do you recall an actual policy
   7      existing governing the retention and storage of
   8      initial and supplemental police reports?
   9                A.   Do I recall the policy?
   10               Q.   Yes.
   11               A.   No, I do not.
   12               Q.   All right.      Do you know if detectives
   13     or detective sergeants would ever take handwritten
   14     notes during their investigations during your time
   15     as captain?
   16                            MR. KAY:    Objection, foundation.
   17                            THE WITNESS:     Yes.
   18     BY MR. SHUKUR:
   19               Q.   Okay.     How do you know that?
   20               A.   Several officers, not just detectives,
   21     had notepads that they wrote notes down about
   22     investigations or crime scenes or traffic accidents
   23     or whatever.      I believe the detectives did the same
   24     thing.
   25               Q.   All right.      What, with these notepads,

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   1      well, please describe these notepads.
   2                A.   It would be a small, maybe a
   3      three-by-five notepad that they could scratch down
   4      information so they would have it later to complete
   5      their investigation.
   6                Q.   All right.      And so officers would use
   7      the notes from their notepad to help produce their
   8      initial and supplemental reports; is that correct?
   9                             MS. JEWELL:     Objection.
   10                            THE WITNESS:     Yes.
   11     BY MR. SHUKUR:
   12               Q.   All right.      And after the officers
   13     would type their reports using their notes from the
   14     notepad, would they toss the notepad?
   15                            MR. HERMAN:     Objection.
   16                            MS. JEWELL:     Objection.
   17                            THE WITNESS:     I have no idea.
   18     BY MR. SHUKUR:
   19               Q.   Okay.     And did you ever have an
   20     occasion to see and, sorry, were each of these
   21     officers provided, sorry, during your time as
   22     captain were all of the patrol officers and
   23     detectives provided these three-by-five inch
   24     notepads?
   25                            MR. HERMAN:     Objection.

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   1                              THE WITNESS:     They were not
   2      provided.
   3      BY MR. SHUKUR:
   4                 Q.   What do you mean?
   5                 A.   We did, the department did not buy
   6      their pads.      They bought their own.
   7      BY MR. SHUKUR:
   8                 Q.   During your time at the Miami Township
   9      Police Department did the police department ever
   10     supply its detectives or patrol officers with
   11     notepads?
   12                A.   Yes, but not ones I was referring to.
   13                Q.   Okay.     What types of notepads would the
   14     department provide?
   15                A.   Legal pads.
   16                Q.   Did you ever have an occasion to see
   17     or, sorry.      Here's my question, so during your time
   18     at the Miami Township Police Department the
   19     department made available legal pads to all
   20     detectives and all patrol officers; is that
   21     correct?
   22                A.   That's correct.
   23                Q.   Okay.     During your time as lieutenant
   24     and captain at the Miami Township Police Department
   25     did you ever have the occasion of seeing scrap

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   1      pieces of paper from either a legal pad or a
   2      three-by-five inch notepad in the trash can?
   3                 A.   I do not recall anything like that.
   4                 Q.   Okay.     During your time as captain and
   5      lieutenant at the Miami Township Police Department
   6      were there any policies governing the retention or
   7      storage of notes written on the three-by-five inch
   8      notepads or legal pads?
   9                 A.   I don't recall anything like that.
   10                Q.   And earlier you said that during your
   11     time as captain you had the occasion of seeing
   12     detectives at the scenes of crimes; is that
   13     correct?
   14                A.   Yes.
   15                Q.   Okay.     Did you ever see a detective
   16     write on a legal pad or a three-by-five inch
   17     notepad during your time as captain at the Miami
   18     Township Police Department?
   19                A.   Yes.
   20                Q.   Did you see this multiple times or just
   21     one time?
   22                A.   Multiple.
   23                Q.   In your time as captain at the Miami
   24     Township Police Department, did you ever have the
   25     occasion of seeing a detective conduct an interview

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                                  Transcript of Marvin Scothorn
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   1      of a witness or an interrogation of a suspect?
   2                A.   Not that I recall.
   3                Q.   All right.      During your time as captain
   4      at the Miami Township Police Department, how did
   5      you make sure that the detective sergeant wasn't
   6      allowing the detectives to sort of run wild and
   7      wasn't supervising the detectives at all?
   8                             MR. HERMAN:     Objection.
   9                             MS. JEWELL:     Objection.
   10                            THE WITNESS:     I didn't directly
   11     supervise the detective sergeant.             And I, you know,
   12     we were a very professional group.             I don't think
   13     that anybody was running rampant or doing anything,
   14     you know, unprofessional.
   15     BY MR. SHUKUR:
   16               Q.   Do you remember ever having a
   17     conversation with the lieutenant during your time
   18     as captain in which you discuss how the lieutenant
   19     should go about supervising the detective sergeant?
   20               A.   I don't recall ever having that
   21     conversation, no.
   22               Q.   Okay.     Do you ever recall having a
   23     conversation with the lieutenant during your time
   24     as captain in which you discussed how the
   25     lieutenant should make sure the detective sergeant

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                                 Transcript of Marvin Scothorn
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   1      was properly supervising the detectives?
   2                A.   I don't remember ever having that
   3      conversation.
   4                Q.   Do you ever remember having a
   5      conversation with the lieutenant during your time
   6      as captain in which you discussed the department's
   7      practices regarding photo lineups?
   8                A.   No.
   9                Q.   Did you ever recall having a
   10     conversation with the lieutenant during your time
   11     as captain regarding the department's policies
   12     regarding turning over evidence and reports to
   13     prosecutors?
   14               A.   No.
   15               Q.   All right.      Do you recall having a
   16     conversation with anybody at the department during
   17     your time as captain regarding the policies,
   18     practices, and turning over evidence and reports to
   19     prosecutors?
   20               A.   I don't remember having a conversation
   21     like that, no.
   22               Q.   Do you remember having a conversation
   23     with anybody during your time as captain in which
   24     you discuss with anybody the department's practices
   25     in conducting photo lineups?

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                                 Transcript of Marvin Scothorn
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   1                A.   No.    I don't know anything about photo
   2      lineups, so --
   3                Q.   Do you remember having a conversation
   4      with the lieutenant during your time as captain in
   5      which you discuss the Miami Township Department's
   6      practices in storing and/or retaining initial
   7      reports and supplemental reports?
   8                A.   No.
   9                Q.   Do you remember having a conversation
   10     with anybody at the department during your time as
   11     captain in which you discuss the department's
   12     practices in storing and/or retaining initial
   13     reports and supplemental reports?
   14               A.   I would have talked to the lady that
   15     was making, that was writing the policy.               And then
   16     when the policy was created, then we would have
   17     talked about it with the committee, but I don't
   18     remember those conversations.           It's a long time
   19     ago, and I don't have any reason to remember that
   20     stuff.
   21               Q.   I understand.       I understand.       Aside
   22     from the conversation with the lady who we
   23     discussed earlier about the department's policy in
   24     storing and retaining initial and supplemental
   25     reports, do you recall any other conversation with

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                                  Transcript of Marvin Scothorn
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   1      anybody else at the department during your time
   2      your time as captain in which you discussed
   3      department's policy or practice in retaining or
   4      storing initial or supplemental reports?
   5                A.   I don't recall the conversation, no.
   6                Q.   Okay.     Do you recall in addition, not
   7      recalling the conversation, do you recall any
   8      conversation of that type?
   9                A.   No.     As I said, you know, we were in
   10     the process of creating policy, and we had a
   11     process that we were going through to create that.
   12     And I would have had conversations with, you know,
   13     with, you know, several people about a specific
   14     policy, but I don't recall what those conversations
   15     were or how they transpired or whether they ended
   16     up even --
   17               Q.   All right.      And that process that
   18     you're referring to is the process for the
   19     department to become accredited, correct?
   20               A.   Yes.
   21               Q.   Okay.     And we've already discussed the
   22     department becoming accredited in 1994, correct?
   23               A.   Yes.
   24               Q.   When did the department begin the
   25     process to become accredited?

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                                 Transcript of Marvin Scothorn
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   1                A.   It was before Chief Moore left.            He
   2      left in 1988, so we started that process before
   3      that.
   4                Q.   All right.      When did the lady whose job
   5      it was to help produce these policies begin working
   6      at the department; if you remember?
   7                A.   I don't recall when she started, but it
   8      would have been after Chief Moore left.
   9                Q.   Do you recall if it was the late '80s
   10     or early '90s?
   11               A.   I would say it was the late '80s.
   12               Q.   Do you remember Scott Moore having sort
   13     of a reputation as a cowboy when he was a detective
   14     at the Miami Township Police Department?
   15                           MR. KAY:     Objection.
   16                           THE WITNESS:      I don't recall
   17     anything specific, no.
   18     BY MR. SHUKUR:
   19               Q.   Do you recall anything generally?
   20                           MR. KAY:     Objection, form.       Asked
   21     and answered.
   22     BY MR. SHUKUR:
   23               Q.   You can answer.
   24               A.   I recall that I wasn't very fond of
   25     him, so --

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                                  Transcript of Marvin Scothorn
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   1                 Q.   All right.     You had reservations about
   2      Moore joining the Miami Township Police Department,
   3      correct?
   4                 A.   Yes.
   5                 Q.   Since you had reservations about Moore
   6      joining the Miami Township Police Department, you
   7      kind of kept a close eye on him when he first
   8      joined the force; is that correct?
   9                             MR. KAY:    Objection, form.
   10                            MS. JEWELL:     Objection.
   11                            THE WITNESS:     No, not really.
   12     BY MR. SHUKUR:
   13                Q.   Not really?
   14                A.   No.
   15                Q.   All right.     And when Moore first joined
   16     the police department, did you pay any attention to
   17     him at all in the performance of his duties or as
   18     to check on how he was going about performing his
   19     job?
   20                A.   He didn't, I don't recall him ever
   21     actually being under my supervision.             So in light
   22     of that, I would say, no, I never really checked up
   23     on him.     I wasn't one to check up on someone that
   24     wasn't, you know, in my charge, so --
   25                Q.   All right.     When you were captain at

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                                  Transcript of Marvin Scothorn
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   1      the Miami Township Police Department Moore was a
   2      detective, correct?
   3                A.   Yes.
   4                Q.   Okay.     And so, you know, he was one of
   5      your subordinates when he was a detective, correct?
   6                A.   Yes.
   7                Q.   Okay.     And did you bear responsibility
   8      for the performance of detectives when you were
   9      captain at the Miami Township Police Department?
   10                            MR. KAY:    Objection, form.       Asked
   11     and answered for the third time.
   12                            MS. JEWELL:     Objection.
   13                            MR. HERMAN:     Objection.
   14     BY MR. SHUKUR:
   15               Q.   You can answer.
   16                            MS. JEWELL:     This is the last time
   17     that he's going to answer this question.
   18                            THE WITNESS:     Ultimately I was
   19     responsible for everybody except the police chief,
   20     but I didn't get involved in the day-to-day
   21     operations because things were running relatively
   22     smoothly.
   23     BY MR. SHUKUR:
   24               Q.   All right.      All right.      And do you
   25     recall attending a meeting in which Rick Wolfe came

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                                 Transcript of Marvin Scothorn
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    1     to the Miami Township Police Department and
    2     suggested that Dean Gillispie or Roger Gillispie
    3     should be a suspect in a rape investigation?
    4               A.    No.
    5               Q.    And is your testimony that you never
    6     attended a meeting in which Rick Wolfe suggested
    7     Dean Gillispie or Roger Gillispie should be a
    8     suspect in a rape investigation?
    9                           MS. JEWELL:      Objection.
    10                          THE WITNESS:      I don't recall ever
    11    attending a meeting with Rick Wolfe.
    12    BY MR. SHUKUR:
    13              Q.    And I'm just trying to see if you don't
    14    recall or if you know for sure that the meeting
    15    didn't happen?
    16              A.    The meeting may very well have
    17    happened, but I wasn't there.
    18              Q.    Do you recall ever having any
    19    interactions with Rick Wolfe after Rick Wolfe let
    20    left the Miami Township Police Department?
    21                          MS. JEWELL:      Objection.
    22                          THE WITNESS:      No.
    23                          MR. HERMAN:      Was your answer no?
    24                          THE WITNESS:      No.    Yes.
    25                          MR. SHUKUR:      Okay.

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                                   Transcript of Marvin Scothorn
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    1                             MR. HERMAN:     Can we take a break?
    2                             MR. SHUKUR:     Do you want to go
    3     ahead and do lunch or do you want to power through?
    4                             MR. HERMAN:     Can we go off the
    5     record?
    6                             MR. SHUKUR:     Yeah.    We can go off
    7     the record.
    8                             (WHEREUPON, a recess was taken.)
    9                             (WHEREUPON, Plaintiff's Exhibit
    10    No. 1 was marked for identification.)
    11    BY MR. SHUKUR:
    12              Q.    We're back on the record.
    13    Mr. Scothorn, I'm handing you Plaintiff's Exhibit
    14    1.   There are four copies.           The first composite, a
    15    composite.      Mr. Scothorn, have you, well, take a
    16    moment to review Plaintiff's 1, and let me know
    17    when you're finished.
    18              A.    Okay.
    19              Q.    All right.      Have you ever seen
    20    Plaintiff's 1 before?
    21              A.    I do not recall this, no.
    22              Q.    Have you ever, or during your time at
    23    the Miami Township Police Department, did you ever
    24    have an occasion of putting a composite together?
    25              A.    No, sir.

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                                 Transcript of Marvin Scothorn
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    1               Q.    All right.     During your time as
    2     lieutenant or captain, do you remember or recall
    3     ever discussing the Township's practices or
    4     policies regarding composites?
    5               A.    I don't recall discussing that, no.
    6                           (WHEREUPON, Plaintiff's Exhibit
    7     No. 2 was marked for identification.)
    8                           MS. JEWELL:      Do you want that
    9     marked as 1, is that what you said?
    10                          MR. SHUKUR:      Yes.
    11                          MS. JEWELL:      Objection.      I'll make
    12    that a little bit more legible.
    13    BY MR. SHUKUR:
    14              Q.    All right.     I'm now handing you
    15    Plaintiff's Exhibit 2.         Have you ever seen
    16    Plaintiff's Exhibit 2?         Take a minute to review it,
    17    and let me know.
    18              A.    No, sir.     I don't ever recall seeing
    19    this before.      I don't ever recall seeing this
    20    before.
    21              Q.    All right.     We're done with those.
    22    Mr. Fritz, have you ever --
    23                          MS. JEWELL:      This is Scothorn.
    24    BY MR. SHUKUR:
    25              Q.    So many --

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                                   Transcript of Marvin Scothorn
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    1               A.    Was that an intended insult?
    2               Q.    No.     All right.     Mr. Scothorn?
    3               A.    Yes.
    4               Q.    Have you ever been a part of the
    5     faculty at a police academy?
    6               A.    Yes.
    7               Q.    Okay.     What police academy?
    8               A.    Miami Township Police Academy.
    9               Q.    Who would, who were the participants in
    10    the Miami Township Police Academy?
    11              A.    You mean faculty or students?
    12              Q.    Students.
    13              A.    Students would be a variety of people
    14    that were sponsored by a law enforcement agency
    15    somewhere in the area.
    16              Q.    And how long, well, sorry.           When, when
    17    were you a part of the faculty of the Miami
    18    Township Police Academy?
    19              A.    From its inception, and I believe it
    20    was 1981 until 1996.
    21              Q.    And describe your role at the Miami
    22    Township Police Academy.
    23              A.    In the beginning I was an instructor in
    24    certain areas.         In the end I was a commander.
    25              Q.    All right.      What were the areas in

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                                   Transcript of Marvin Scothorn
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    1     which you were an instructor in?
    2               A.    I was an instructor in domestic
    3     violence.      I had minor roles in some other subjects
    4     that were fairly generic.           I don't recall anything
    5     more specific than that.
    6               Q.    Do you remember the generic areas?
    7               A.    No.     I don't remember exactly what,
    8     generally it was areas that did not require a
    9     specific expertise.
    10              Q.    Do you have any examples of what those
    11    areas might be or could be?
    12              A.    Report writing.
    13              Q.    Report writing?
    14              A.    Report writing.
    15              Q.    Describe your responsibilities as
    16    commander.
    17              A.    I organize the academy.          I submit it
    18    for students.         I kept the records for the academy
    19    and submitted them to the state for inspection.                I
    20    was present when the state inspector came to
    21    inspect to make sure everything was being done
    22    properly.
    23              Q.    What records would you submit to the
    24    state for inspection?
    25              A.    Attendance records, test scores, that

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                                  Transcript of Marvin Scothorn
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    1     kind of thing.
    2               Q.    Would every new law enforcement officer
    3     in the Miami Township Police Department have to go
    4     through the academy?
    5               A.    Yes.
    6               Q.    Would the academy produce its own
    7     training materials?
    8               A.    No.    There was a suggested curriculum
    9     distributed by the state.
    10              Q.    All right.     During your time at the
    11    Miami Township Police Academy, the academy would
    12    use the suggested curriculum disseminated by the
    13    state; is that correct?
    14              A.    It was a basis.       It basically said that
    15    you had to cover these areas, and then you, we had
    16    someone that, in a department or another department
    17    or another police officer some place or in some
    18    cases we brought in attorneys from outside the
    19    department that could teach areas that would
    20    require that particular expertise, and then we
    21    would build on the base curriculum that the state
    22    issued.
    23              Q.    How would you build on the base
    24    curriculum?
    25              A.    Experience.

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                                   Transcript of Marvin Scothorn
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    1               Q.    Would you, by we, you're referring to
    2     yourself and who else?
    3               A.    Other, the parts of the faculty.
    4               Q.    During your time at the Miami Township
    5     Police Academy in addition to using materials
    6     produced by or disseminated by the state would you
    7     produce your own written training materials?
    8               A.    Would I do that?
    9               Q.    Would the faculty --
    10              A.    As the instructor?
    11              Q.    Yes.
    12              A.    On occasion, not, it wasn't required.
    13              Q.    Now, the suggested curriculum
    14    disseminated by the state, would this suggested
    15    curriculum disseminated by the state in part
    16    consist of handouts provided to the students?
    17              A.    In part.
    18              Q.    Would this suggested curriculum also
    19    consist in part of teaching guides for the faculty?
    20              A.    I don't recall that they had any
    21    requirements that you had to attend any kind of
    22    training to be an instructor.
    23              Q.    I understand.       And my question,
    24    though --
    25              A.    Okay.

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                                   Transcript of Marvin Scothorn
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    1                Q.     My question is with the suggested
    2     curriculum handed out by the state or actually it
    3     would be better if I just ask you this, here's my
    4     question, please describe the suggested curriculum
    5     disseminated by the state.
    6                A.     The curriculum was a book probably
    7     about 3 and a half inches thick and each subject
    8     that the state wanted taught in the academy had a
    9     list of goals to achieve in that particular class.
    10    And then there were suggestions about how to
    11    achieve that, and then everyone that was going to
    12    instruct in the class was given a copy of that, of
    13    that part of the curriculum for them to review and
    14    then they were allowed to improve on it or to add
    15    to it.
    16               Q.     During your time at the Miami Township
    17    Police Academy, it always, did it always use this
    18    about 3 and a half inch thick book disseminated by
    19    the state?
    20               A.     No.
    21               Q.     When did it not use the book?
    22               A.     Originally the book was much smaller,
    23    still disseminated by the state, but it was a lot
    24    smaller.        It didn't have a lot of the details in
    25    it, and then they changed their curriculum, I don't

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    1     remember when.
    2                Q.   All right.
    3                A.   And so we, so we used the new
    4     curriculum.
    5                Q.   And during your time at the Miami
    6     Township Police Academy, the academy would always
    7     use the suggested curriculum that came in the form
    8     of this book disseminated by the state; is that
    9     correct?
    10                            MR. HERMAN:     Objection.
    11                            THE WITNESS:     As a base.
    12    BY MR. SHUKUR:
    13               Q.   As a base?
    14               A.   As a base.
    15               Q.   That's correct?
    16               A.   Yes.
    17               Q.   Okay.     Do you know how the detectives
    18    were trained during your time as lieutenant and
    19    captain at the Miami Township Police Department?
    20                            MS. JEWELL:     Objection.
    21                            THE WITNESS:     I don't know.      I
    22    don't know of any training program that they gave
    23    to detectives.
    24    BY MR. SHUKUR:
    25               Q.   When you became captain, did you

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                                   Transcript of Marvin Scothorn
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    1     implement or advocate for any reforms within the
    2     department?
    3                             MR. HERMAN:     Objection.
    4                             THE WITNESS:     Not that I recall.
    5     BY MR. SHUKUR:
    6               Q.    And that's when you became a captain?
    7               A.    Yes.
    8               Q.    Now, during your time as captain, did
    9     you, well, first, we already discussed one sort of
    10    reform which is the implementation of computerized
    11    storage of records, correct?
    12              A.    We discussed that, but that wasn't
    13    my --
    14              Q.    I understand.
    15              A.    Yeah.
    16              Q.    But, you know, we discussed that
    17    reform, right?
    18              A.    Yes.
    19              Q.    Now, were there any changes or reforms
    20    spearheaded by you during your time as captain at
    21    the Miami Township Police Department?
    22                            MR. HERMAN:     Objection, form.
    23                            THE WITNESS:     I don't recall any
    24    reforms that I spearheaded, no.
    25    BY MR. SHUKUR:

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                                 Transcript of Marvin Scothorn
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    1               Q.    When you became captain, did you, I
    2     believe the township was, I'm sorry.             Here's my
    3     question.      When you became captain, did you believe
    4     that the Miami Township Police Department was in
    5     need of improvement in any area regarding its or
    6     relating to its administrative functions or
    7     investigatory functions?
    8                           MR. HERMAN:      Objection, form,
    9     foundation.
    10                          MS. JEWELL:      Objection.
    11                          THE WITNESS:      I, I don't know of
    12    anything that I would have thought would, needed
    13    reformed.
    14    BY MR. SHUKUR:
    15              Q.    All right.     Now, I inadvertently
    16    brought up Fritz when we came back from the break.
    17    Now, I'd like to purposefully bring him up.               Do you
    18    remember the circumstances surrounding Fritz'
    19    departure from the Miami Township Police
    20    Department?
    21              A.    Vaguely.
    22              Q.    What do you remember about the
    23    circumstances surrounding Fritz' departure from the
    24    Miami Township Police Department?
    25              A.    I remember that he was unhappy.           I

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    1     remember that we were unhappy with him.                I remember
    2     that we were pleased when he decided to leave.
    3               Q.    All right.     Now, you say that we were
    4     unhappy with him.        Who are you saying, or who is
    5     included within the we?
    6               A.    The police chief and I.
    7               Q.    Why were you and the police chief
    8     unhappy with Fritz before his departure?
    9               A.    He was obviously unhappy being there,
    10    at least that's the way we felt.            We didn't feel
    11    that he was, you know, wanted to be there.                And we
    12    weren't, we weren't interested in having him there
    13    if he wasn't, if he wasn't going to be all in and
    14    perform professionally.
    15              Q.    All right.     After Fritz' departure,
    16    were there any notable events regarding Fritz and
    17    the Miami Township Police Department that you know
    18    of?
    19                          MR. HERMAN:      Objection.
    20                          THE WITNESS:      I'm not sure what
    21    you're asking.
    22    BY MR. SHUKUR:
    23              Q.    Did you have any interactions with
    24    Fritz after Fritz' departure from the Miami
    25    Township Police Department?

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                                   Transcript of Marvin Scothorn
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    1                A.     The only thing I recall was we were
    2     disciplining an officer, and he came to the
    3     disciplinary hearing to testify although he never
    4     testified.
    5                Q.     Did you interact with Fritz at this
    6     hearing?
    7                A.     No.
    8                Q.     Have you interacted with Fritz at all
    9     since his departure from the Miami Township Police
    10    Department?
    11               A.     No.
    12               Q.     All right.    All right.      And we touched
    13    on this before, but let's dive a little more deeply
    14    into it.        What role did Fritz have in the
    15    circumstances surrounding your termination from the
    16    Miami Township Police Department?
    17                            MS. JEWELL:     I'm going to object,
    18    just continuing objection with any, you know, any
    19    questions regarding his termination, but you can
    20    answer any questions at this point.
    21                            THE WITNESS:     I don't know of any
    22    direct involvement that he had.             I don't remember
    23    him testifying at the hearing or being directly
    24    involved in any of that.
    25    BY MR. SHUKUR:

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                                 Transcript of Marvin Scothorn
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    1                Q.   All right.     And earlier you said that
    2     Fritz had a role in getting people to tell lies
    3     against you; is that correct?
    4                A.   That was what I was told, yes.
    5                Q.   What lies, well, first, according to
    6     what you were told, who did Fritz encourage to lie?
    7                A.   I really don't know.
    8                Q.   According to what you were told, what
    9     lies did Fritz encourage the people to tell, the
    10    other person to tell?
    11               A.   My understanding was that he and a
    12    couple of other individuals in the department
    13    conspired to ask people if they had an opinion of
    14    me or if they knew of anything bad that I did.                I
    15    don't know that to be a fact.           That's just what I
    16    was told.
    17               Q.   The lie that you heard Fritz encourage
    18    people to tell was to ask if they had a bad opinion
    19    of you?
    20               A.   A little more complicated than that,
    21    but yes.
    22               Q.   All right.     How is it more complicated
    23    than that?
    24               A.   There was a lot being said.            The
    25    majority of it was untrue.          My understanding was

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                                  Transcript of Marvin Scothorn
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    1     that a group of individuals were gathered together,
    2     people, and trying to get them to speak out against
    3     me and including contacting my ex-wife and talking
    4     to her.     I do not know who all was involved.             I do
    5     not care who was involved.           It's long since gone.
    6               Q.    Earlier we discussed a consultant who
    7     had the department implement its computerized
    8     recordkeeping, correct?
    9               A.    Yes.
    10              Q.    Do you remember who this consultant
    11    was?
    12              A.    No, I do not.      I do remember that he
    13    worked for Wright State University, but I don't
    14    remember who he was.
    15              Q.    When did the Miami Township Police
    16    Department implement computerized recordkeeping?
    17              A.    It was over a period of time.            That
    18    didn't happen on a specific date, but I would say
    19    early '90s.
    20                           MR. SHUKUR:     All right.       I don't
    21    have anything else for you.
    22                           CROSS-EXAMINATION
    23    BY MR. HERMAN:
    24              Q.    Mr. Scothorn, my name is Chris Herman,
    25    and I represent the Miami Township Police

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                                   Transcript of Marvin Scothorn
                                  Conducted on December 19, 2018                 114

    1     Department in this case.
    2                A.   Okay.
    3                Q.   I will not be as long as Mr. Shukur,
    4     and I will tend to skip around a little bit because
    5     he's covered some of things that I wanted to cover
    6     with you, so --
    7                A.   Okay.
    8                Q.   Again, if you need to take a break, let
    9     us know.
    10               A.   Okay.
    11               Q.   If you don't understand any of my
    12    questions, then let me know that, okay?
    13               A.   Okay.
    14               Q.   Otherwise I'll just assume that you
    15    understood the question.
    16               A.   I understand.
    17               Q.   I'm going to start by focusing on some
    18    of the allegations in the complaint that were made
    19    against you.
    20               A.   Yes.
    21               Q.   Have you had an opportunity since this
    22    case was filed to actually read the complaint?
    23               A.   No.
    24               Q.   Okay.     Have you, so you've never read
    25    the complaint?

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                                   Transcript of Marvin Scothorn
                                  Conducted on December 19, 2018                 115

    1               A.    Oh, this complaint?
    2               Q.    Yes.
    3               A.    Oh, yes.      Early on.
    4                             (WHEREUPON, Mr. Deters exited the
    5     room.)
    6     BY MR. HERMAN:
    7               Q.    Okay.     And I know there was a complaint
    8     filed, and then there was an amended complaint
    9     filed.    Are you aware of that fact that there was
    10    first a complaint and then an amended complaint
    11    filed?
    12              A.    I'm not aware of the difference, no.
    13              Q.    All right.      I would assume that you
    14    read the complaint whether it was the amended
    15    complaint or the first one a long time ago?
    16              A.    Yeah.
    17              Q.    Did you read it in preparation for your
    18    deposition here today at all?
    19              A.    No.
    20              Q.    Okay.     Part of the complaint talks
    21    about a meeting that was attended by Rick Wolfe,
    22    another GM employee, Steven Fritz, Gary Bailey,
    23    Chief Angel, and possibly you.             If I recall your
    24    testimony earlier, you don't recall ever
    25    participating or sitting in a meeting with Rick

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                                 Transcript of Marvin Scothorn
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    1     Wolfe in connection with the Roger Dean Gillispie
    2     rape investigation; is that correct?
    3               A.    That's correct.
    4               Q.    If a meeting had taken place were you
    5     ever told about what happened at that meeting?
    6                           MR. SHUKUR:      Objection.      You may
    7     answer.
    8                           THE WITNESS:      I don't recall ever
    9     being told about it, no.
    10    BY MR. HERMAN:
    11              Q.    There's another allegation in the
    12    amended complaint that Chief Thomas Angel and you,
    13    Captain Marvin Scothorn, directed Steven Fritz and
    14    Gary Bailey to investigate Roger Dean Gillispie as
    15    a suspect in the August 1988 rapes.             Do you recall
    16    ever having any conversation with Chief Angel about
    17    who to assign and investigate the Roger Dean
    18    Gillispie rapes?
    19              A.    I do not recall any conversation like
    20    that.
    21              Q.    Do you recall any conversation that you
    22    had with Steven Fritz about his involvement in the
    23    Roger Dean Gillispie rape investigation?
    24              A.    I don't remember being involved in that
    25    case at all.

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                                   Transcript of Marvin Scothorn
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    1               Q.    Okay.     And I assume that you're, I'll
    2     assume what you're answer is going to the next one,
    3     but I have to ask it anyway.
    4               A.    Sure.
    5               Q.    Do you recall any conversations that
    6     you had with Gary Bailey about his investigation of
    7     the Roger Dean Gillispie rape case?
    8               A.    No.
    9               Q.    And I think I know the answer, but I'll
    10    ask anyway.      You didn't participant in the
    11    prosecution of Roger Dean Gillispie in these rapes
    12    that occurred in 1988, correct?
    13              A.    No.
    14              Q.    You didn't show up for trial?
    15              A.    No.
    16                            (WHEREUPON, Mr. Deters entered the
    17    room.)
    18    BY MR. HERMAN:
    19              Q.    Did you speak with any of the witnesses
    20    or anybody after the trials happened?
    21              A.    No.
    22              Q.    And you were promoted to captain in or
    23    about 1990; is that correct?
    24              A.    That's correct.
    25              Q.    Do you remember what month it was?

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                                   Transcript of Marvin Scothorn
                                  Conducted on December 19, 2018                 118

    1               A.    No.
    2               Q.    Okay.     Did you have any, I guess,
    3     general knowledge about the Roger Dean Gillispie
    4     rape investigation when you were a lieutenant at
    5     the police department?
    6               A.    No.
    7               Q.    Did you have any knowledge about the
    8     Roger Dean Gillispie rape investigation when you
    9     were captain with the police department?
    10              A.    No.
    11              Q.    Did you have any knowledge that Gary
    12    Bailey was assigned as the detective to the Roger
    13    Dean Gillispie rape investigation?
    14              A.    Not that I recall.
    15              Q.    Okay.     At some point are you aware that
    16    Gary Bailey was reassigned from the detective
    17    section back to the road patrol section?
    18              A.    I don't recall that either.
    19              Q.    Okay.     Are you aware of or did you have
    20    anything to do with Scott Moore being assigned to
    21    the Roger Dean Gillispie rape investigation?
    22              A.    No.
    23              Q.    Do you recall ever speaking to Scott
    24    Moore about his investigation of the Roger Dean
    25    Gillispie rape case?

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                                  Transcript of Marvin Scothorn
                                 Conducted on December 19, 2018                  119

    1               A.    No.
    2               Q.    I understand that you were not a direct
    3     supervisor of Scott Moore at the Miami Township
    4     Police Department, correct?
    5               A.    That's correct.
    6               Q.    In 1990 you were a captain and
    7     Detective Moore would have been, well, Scott Moore
    8     would have been a detective or in the road patrol
    9     section in that time period, correct?
    10              A.    Yes.
    11              Q.    Do you recall during your time working
    12    with Scott Moore and not as it relates to the Roger
    13    Dean Gillispie case having any conversations with
    14    Scott Moore about the creation of photo spreads?
    15              A.    No.
    16              Q.    Do you recall ever having any
    17    conversations with Scott Moore about how to
    18    interview victims and identify suspects in any
    19    criminal cases?
    20              A.    No.
    21              Q.    There's an allegation in the amended
    22    complaint that says you approved of Scott Moore
    23    making suggestive comments to victims in an effort
    24    to get them to identify Roger Dean Gillispie as the
    25    suspect in the rape investigations.             Do you recall

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                                   Transcript of Marvin Scothorn
                                  Conducted on December 19, 2018                 120

    1     that at all?
    2                A.   No.
    3                Q.   Okay.     Are you aware of any instances
    4     of a detective or a patrol officer any other
    5     employee of the Miami Township Police Department
    6     making suggestive comments to victims or
    7     eyewitnesses or any other people in an effort to
    8     identify someone as a suspect?
    9                A.   No.
    10               Q.   Are you aware of anyone in the command
    11    staff, whether it be any of the road patrol
    12    sergeants, the detective sergeant, any lieutenants
    13    or yourself condoning officers making suggestive
    14    comments to victims in an effort to identify
    15    someone as a suspect?
    16               A.   No.
    17               Q.   That same question but as it relates to
    18    suggestive comments to eyewitnesses to identify --
    19               A.   No.
    20               Q.   Okay.     If I recall correctly from your
    21    testimony earlier you have no experience in the
    22    creation of photo spreads during your tenure
    23    working at the Miami Township Police Department,
    24    correct?
    25               A.   That's correct.

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                                 Transcript of Marvin Scothorn
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    1               Q.    Despite that fact are you aware of any
    2     of your subordinates or any employees at the police
    3     department engaging in some custom or practice to
    4     create and use unduly suggestive photo spreads
    5     during the investigation?
    6               A.    No.
    7               Q.    As a lieutenant and a captain with the
    8     Miami Township Police Department would you have had
    9     a duty to speak to an officer or to inform your
    10    superiors if you ever learned that there was a
    11    custom or a practice for officers at the Miami
    12    Township Police Department to create or use unduly
    13    suggestive photo spreads?
    14                          MS. JEWELL:      Objection.      Go ahead
    15    and answer.
    16                          THE WITNESS:      I'm sorry, can you
    17    ask that again?
    18                          (WHEREUPON, the requested portion
    19    of the record was read.)
    20                          THE WITNESS:      Yes.
    21    BY MR. HERMAN:
    22              Q.    Can you explain that?
    23              A.    If I had heard that there was any
    24    unethical treatment or any unethical practices then
    25    it would have been my duty to inform or take action

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                                   Transcript of Marvin Scothorn
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    1     myself.
    2               Q.    Okay.     And do you recall ever having to
    3     take any such action in your tenure at the Miami
    4     Township Police Department?
    5               A.    No, I do not.
    6               Q.    Okay.     Do you recall ever any other
    7     command staff or any other officers having to take
    8     action in that regard?
    9               A.    Not that I recall.
    10              Q.    It's alleged in the complaint that you
    11    were part of a systematic process at Miami Township
    12    of rigging criminal prosecutions.              Are you aware of
    13    any evidence or any cases before the Roger Dean
    14    Gillispie case of any employees at the Miami
    15    Township Police Department suppressing exculpatory
    16    evidence?
    17              A.    Not that I'm aware.
    18              Q.    Okay.     Are you aware of any of those
    19    instances after the Roger Dean Gillispie case and
    20    his conviction of accusations that any employees at
    21    the Miami Township Police Department suppressed
    22    exculpatory evidence?
    23              A.    Not that I'm aware.
    24              Q.    Are you aware of any cases before the
    25    Roger Dean Gillispie case of any claims that the

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                                 Transcript of Marvin Scothorn
                                Conducted on December 19, 2018                   123

    1     Miami Township Police Department used suggestive
    2     photo spreads to identify suspects in cases?
    3               A.    I'm not aware of anything like that.
    4               Q.    And then after Mr. Gillispie's criminal
    5     case and conviction, are you aware of any cases or
    6     allegations that the Township Police Department
    7     used suggestive photo spreads to identify suspects?
    8               A.    No.   I'm not aware of anything like
    9     that.
    10              Q.    Before the Roger Dean Gillispie case,
    11    are you aware of any cases where the Miami Township
    12    Police Department was accused of or an officer had
    13    fabricated evidence in an investigation?
    14              A.    Not that I recall.
    15              Q.    What about after Mr. Gillispie's
    16    criminal investigation and his subsequent
    17    conviction?
    18              A.    Not that I recall.
    19              Q.    Before the case involving Roger Dean
    20    Gillispie are you aware of any cases involving the
    21    Miami Township Police Department destroying
    22    evidence in connection with a criminal
    23    investigation?
    24              A.    No.
    25              Q.    And what about after Roger Dean

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                                 Transcript of Marvin Scothorn
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    1     Gillispie's investigation and subsequent conviction
    2     of any instances of an officer or employee
    3     destroying evidence in an investigation?
    4               A.    No.
    5               Q.    Before the Roger Dean Gillispie
    6     investigation, are you aware of any instances of
    7     any files being removed from any initial reports or
    8     supplemental reports before the Gillispie case?
    9               A.    No.
    10              Q.    What about after the Gillispie case,
    11    are you aware of any instances of any cases where
    12    files were removed from an investigative file or
    13    supplemental file with the police department?
    14              A.    No.
    15              Q.    Before the Roger Dean Gillispie case,
    16    can you recall any instance where command staff, so
    17    I'm talking about sergeants, lieutenants, captain,
    18    or the chief of police approved of officer or
    19    employee misconduct in any way, shape, or form
    20    instead of disciplining that officer for the
    21    misconduct?
    22                          MR. SHUKUR:      Objection.
    23                          THE WITNESS:      I'm not sure I
    24    understand the question.
    25    BY MR. HERMAN:

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                                  Transcript of Marvin Scothorn
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    1               Q.    So it's been alleged that, in the
    2     complaint that as part of a systematic process of
    3     the Miami Township Police Department rigging
    4     criminal prosecutions that command staff would
    5     approve of an officer or an employee's misconduct
    6     rather than disciplining that officer or employee.
    7     Are you aware of any instances where instead of
    8     disciplining an officer or an employee for
    9     misconduct that the command staff approved of that
    10    misconduct?
    11              A.    No.    I'm not aware of anything like
    12    that.
    13              Q.    What would, in your experience, be the
    14    appropriate response of the command staff if they
    15    discovered that an employee or an officer had
    16    violated a public, a practice, policy, procedure or
    17    local law, state law, federal law, constitutional
    18    right, anything of that nature?
    19                           MR. SHUKUR:     Objection.
    20                           THE WITNESS:     We initiate an
    21    investigation.        Depending on who was involved in
    22    it, we would assign someone to investigate it, and
    23    then it would be, we would follow procedure from
    24    there.
    25    BY MR. HERMAN:

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                                   Transcript of Marvin Scothorn
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    1               Q.    So during the time period of 1988 to
    2     1991, were there some procedures in place to
    3     conduct such investigations if employee or if
    4     employee misconduct was discovered during the
    5     course and scope of an employee's business?
    6               A.    Yes.
    7               Q.    Okay.     Do you specifically recall the
    8     language or the nature of the process or procedure
    9     at that time from 1988 to 19, I'm sorry, 1988 to
    10    1990?
    11              A.    No.     I do not recall specifics.
    12              Q.    But you're aware or you believe that
    13    there was a policy or procedure in place?
    14              A.    I believe there was.
    15              Q.    Okay.     You had testified earlier about
    16    the accreditation process that the police
    17    department was going through, correct?
    18              A.    Yes.
    19              Q.    And if I heard you correctly, you said
    20    it began before 1988 when James Moore was the chief
    21    of police, correct?
    22              A.    That's correct.
    23              Q.    And it continued all the way up until,
    24    I believe, 1994 when the police department was
    25    finally accredited; is that correct?

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                                  Transcript of Marvin Scothorn
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    1               A.    That's correct.
    2               Q.    So during that six-year time period
    3     were there policies and procedures in place at the
    4     Miami Township Police Department regarding the
    5     investigation of cases?
    6               A.    Yes.
    7               Q.    The retention of reports and
    8     supplemental reports?
    9               A.    Yes.
    10              Q.    In the amended complaint there's
    11    another allegation that you and other employees of
    12    the Miami Township Police Department suppressed
    13    and/or destroyed exculpatory and materially
    14    favorable evidence, that being police reports,
    15    audio recordings, alibi evidence, crime scene
    16    evidence, and genetic material.            At any point in
    17    time during the pendency of the Roger Dean
    18    Gillispie investigation did you ever come into
    19    contact with or did you know about any audio
    20    recordings in the case?
    21              A.    I did not.
    22              Q.    Did you know about any alibi evidence
    23    in the case?
    24              A.    I did not.
    25              Q.    Were you aware of any crime scene

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    1     evidence in the case?
    2               A.    I am not.
    3               Q.    Were you aware of any materials that
    4     may have had exculpatory or genetic material on
    5     them?
    6               A.    I'm not aware of any of that.
    7               Q.    Are you aware of any other officers at
    8     the department destroying or suppressing any of
    9     that evidence as alleged in the complaint?
    10              A.    I'm not aware of any officers
    11    destroying evidence on any case.
    12              Q.    And when you say any case, you've been,
    13    you have been at the Miami Township Police
    14    Department for the better part of 26 years?
    15              A.    Yes.
    16              Q.    Okay.     Is it fair to say that when this
    17    case was filed, and you were named as a defendant,
    18    this is the first time that you had heard that
    19    allegation being made against you, the other
    20    officers, and the Miami Township Police Department?
    21              A.    That's correct.
    22              Q.    I want to talk to you a little bit now
    23    about the Township's, I'll call it the old paper
    24    filing system.         And you shared with us that
    25    officers would, and I'm paraphrasing, correct me if

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    1     I'm wrong or mistake anything, that an officer
    2     would prepare an initial report, correct?
    3                A.   Correct.
    4                Q.   And it would be a handwritten report?
    5                A.   Yes.
    6                Q.   And that would be given to someone in
    7     the, I think you said that the filing cabinet was
    8     in the evidence room?
    9                A.   It was in the record --
    10               Q.   In the records room?
    11               A.   In the records section in the property
    12    room, yes.
    13               Q.   In the property room?
    14               A.   Yes.
    15               Q.   Okay.     So the officer would hand the
    16    handwritten report to someone in the property room,
    17    correct?
    18               A.   Yes.
    19               Q.   For a period of time you were the
    20    supervisor over the dispatch center and the records
    21    section, correct?
    22               A.   Yes?
    23               Q.   Is it safe then to say that you were
    24    also supervising how police reports were retained
    25    at the department under your tenure?

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    1                             MS. JEWELL:     Objection.
    2                             THE WITNESS:     We had a system that
    3     preceded me, and we didn't change it.
    4     BY MR. HERMAN:
    5                Q.   Okay.     So if an officer prepares a
    6     report, who did they, and we're talking about
    7     handwritten report --
    8                A.   Yes.
    9                Q.   -- procedure at that time, an officer
    10    prepares a handwritten report.             And who does he or
    11    she give that to then in the property room?               Would
    12    it be one of a number of people?
    13               A.   It could have been one of a number of
    14    people.     There was four people working in that
    15    section.
    16               Q.   Did they have a specific title?           And I
    17    know that you told us that they were civilians/
    18    what specifically were they called?
    19               A.   Records clerks.
    20               Q.   Records clerks, okay.          And there was a
    21    supervisor over the records clerks, correct?
    22               A.   Initially there was a civilian
    23    supervisor.      Eventually we assigned a sergeant to
    24    do that, but --
    25               Q.   Do you recall when that transition took

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    1     place from a civilian supervisor over the records
    2     clerks to an active sergeant who was an officer
    3     with the Miami Township Police Department?
    4                A.     No, I really don't recall.
    5                Q.     Okay.     Then can you tell me then the
    6     process?        That's handed to a records clerk, and
    7     then the records clerk is responsible for taking
    8     that initial report and putting it in a file that's
    9     marked with the report year and the report number,
    10    correct?
    11               A.     That's correct.
    12               Q.     Is there any sort of supervision over
    13    that records clerk in regards to whether they are
    14    placing it in the correct file with that file
    15    number?
    16               A.     I would say that there, there was
    17    actually a supervisor, you know, in the records
    18    section.        I don't recall anything coming up missing
    19    or coming up misfiled.
    20               Q.     Okay.     If a detective then prepared a
    21    supplemental report, and we're still talking about
    22    the old handwritten report recordkeeping, would
    23    that detective give their supplemental report to a
    24    record clerk who would then file it with the
    25    appropriate report number?

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    1               A.    Yes.
    2               Q.    Do you recall any instances, would
    3     detectives sort of skip over or bypass the records
    4     clerk and just file their supplemental report in
    5     the filing cabinet by themselves?
    6               A.    They didn't have access to it.
    7               Q.    Okay.     Who had access to the, I think
    8     you said the property room, where this filing
    9     cabinet was?
    10              A.    Yes.     Records clerks, and then I had
    11    access to it, and the police chief had access to
    12    it.
    13              Q.    Okay.     Is there a reason that a limited
    14    amount of people had access to the property room?
    15              A.    You limit the amount of people so that
    16    things don't get lost.
    17              Q.    Okay.     What could possibly get lost?
    18              A.    If, for example, an officer got
    19    involved in something on the street that involved
    20    an earlier case, and he decided that he wanted to
    21    read the original report, and he had access to go
    22    in and pull the original report, there's no
    23    guarantee that it will get filed properly again.
    24    So you don't give them access to it.              If they need
    25    it, they can request it.           And they can get a copy

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    1     of it, and then the original goes back in the file.
    2               Q.    And that was going to be my next
    3     question.      If an officer or a detective or anybody
    4     else at the police department who was investigating
    5     a case wanted a copy of that file, they would have
    6     to go to the records clerk or you or the chief of
    7     police and request that file?
    8               A.    That's correct.
    9                             MS. JEWELL:     Objection.
    10    BY MR. HERMAN:
    11              Q.    Okay.     I think you told us that you
    12    don't recall an instance of a report being misfiled
    13    in that filing cabinet, correct?
    14              A.    I don't recall any instances where
    15    anything was misfiled.
    16              Q.    But that's not to say it's not possible
    17    that given this system that we had in place where a
    18    human being had to take the report, look at the
    19    report number, and put it into a folder that was
    20    specifically assigned to that report number, that
    21    it, that it's possible maybe an initial report or a
    22    supplemental report if it was pulled out could be
    23    misplaced?
    24                            MR. SHUKUR:     Objection.
    25                            THE WITNESS:     It's possible.

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    1                           MR. HERMAN:      Okay.
    2                           MR. SHUKUR:      And the objection is
    3     as to form of the last question.
    4     BY MR. HERMAN:
    5                Q.   You never served as a detective,
    6     correct?
    7                A.   Never did.
    8                Q.   Is it fair to say then that since you
    9     never served as a detective you don't have any
    10    experience with respect to a practice or a
    11    procedure of writing supplemental reports where a
    12    detective has eliminated somebody as a suspect in a
    13    case, correct?
    14               A.   I have written supplemental reports for
    15    different cases.       I never worked as a detective.            I
    16    don't fully understand what all exactly what their
    17    procedures were to deal with the paperwork, but I,
    18    I don't know of, I don't know of any instance that
    19    a detective eliminated a suspect and that did get,
    20    you know, processed and filed away properly.
    21               Q.   We've talked about the old paper
    22    recordkeeping with respect to the police reports
    23    and that type of thing.         And then you said at some
    24    point there was a transition to a computer based
    25    recordkeeping and report writing protocol at the

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    1     police department, correct?
    2               A.    Correct.
    3               Q.    Do you remember specifically when the
    4     department began to make the transition from a
    5     handwritten paper-based report writing system to a
    6     computer generated, type it in and save it in the
    7     computer report of writing and recordkeeping?
    8               A.    I remember that we actually got the
    9     computers in 1991.         There was a lot of work to
    10    create the format of how we were going to record
    11    the reports.      We worked on that for a long time,
    12    and we had a consultant from Wright State and, but
    13    during that time and even after we initially
    14    started doing stuff on the computer, we still, we
    15    were doing duplication of effort.              We did hardcopy
    16    and computer.
    17              Q.    Have you had an opportunity to review
    18    any of the police reports that were prepared and
    19    generated in connection with the Roger Dean
    20    Gillispie rape investigation?
    21              A.    No.
    22              Q.    Okay.     So if I was to tell you that
    23    Scott Moore was assigned to this case in June of
    24    1990, and he, his first report was computer based,
    25    okay, in 1990, that, you told us that computers

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    1     came to the department in 1991, correct?
    2               A.    That's what I recall, yes.
    3               Q.    Okay.     But Scott Moore has a computer
    4     generated report in June of 1990.               Is there some
    5     other way that he would have generated that report
    6     despite your recollection that computers didn't
    7     come until 1991 or maybe you're mistaken about the
    8     time when computers were starting to be used?
    9                             MR. SHUKUR:     Objection to form.
    10                            THE WITNESS:     I'm not sure
    11    entirely about when the computers actually started,
    12    and I don't know of anyone that was using a
    13    personal computer to do their own work, so if you
    14    say he generated a report in 1990, then I obviously
    15    recall, I don't recall properly when the computers
    16    actually there were.
    17    BY MR. HERMAN:
    18              Q.    If he generated a computer report in
    19    1990, then there must have been a computer there
    20    for him to generate it on.
    21                            MR. SHUKUR:     Objection to form.
    22    It calls for speculation as well.
    23                            THE WITNESS:     Yes.
    24                            MR. HERMAN:     I think that's all
    25    the questions I have at this time.

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    1                               CROSS-EXAMINATION
    2     BY MR. KAY:
    3                Q.     Marvin, just a few questions for you.
    4                A.     Sure.
    5                Q.     If you recall earlier in your
    6     deposition you were provided with certain names of
    7     officers and then the question was asked of you,
    8     what did you think about their performance as an
    9     officer?        Do you recall those line of questions?
    10               A.     Yes.
    11               Q.     Okay.     One person you were not asked
    12    about was Gary Bailey.
    13               A.     Okay.
    14               Q.     With that said, as you sit here today,
    15    do you have any thoughts as far as Mr. Bailey and
    16    his performance as an officer at the department
    17    when you were there?
    18               A.     I don't recall a lot about Gary Bailey.
    19    I do know his department, I know he was with, I'm
    20    pretty sure he was with Miami County Sheriff's
    21    Office before he came to see us, but I don't recall
    22    a lot about him period.
    23               Q.     That's fine.       Do you have any
    24    recollections of the circumstances, if any, which
    25    may have led from him being transferred from the

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    1     Detective Bureau back to the road division?
    2                A.    No, I do not.
    3                Q.    Okay.     I think yesterday, Marvin, Tim
    4     Wilson had testified that when Fritz left, and I'm
    5     sorry, did he, he resigned, is that --
    6                A.    Yes, he did.
    7                Q.    Okay.     He had testified that when Fritz
    8     resigned that, I think he said two days later Fritz
    9     came back trying to get his job back, okay.               Do you
    10    have any recollection regarding any events related
    11    to that?
    12                             MR. SHUKUR:     Objection to form.
    13                             THE WITNESS:     Not entirely
    14    accurate.       He turned in his two-week resignation.
    15    We immediately found someone to replace him, which
    16    was Tim Wilson.
    17    BY MR. KAY:
    18               Q.    Tim Wilson.
    19               A.    Tim and I had a history.          He was, I
    20    knew he was interested, and so I suggested to the
    21    chief that we talk to him.             We ultimately decided
    22    to hire him.       Two days before Fritz' last day he
    23    came and wanted to know, he said he had changed his
    24    mind, that he was going to stay on.               And we told
    25    him that we had already replaced him.

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    1               Q.    Okay.     As far as when Fritz resigned
    2     and was leaving department, did you have any
    3     involvement of any nature as far as the assignment
    4     of new current matters being investigated within
    5     the Detective Bureau?
    6               A.    No.
    7               Q.    Okay.     Now, what we've learned in this
    8     lawsuit is that after Steve Fritz left the
    9     department he went to work for a private
    10    investigating firm; do you have any knowledge of
    11    that?
    12              A.    No, I do not.
    13                            MR. SHUKUR:     Objection to form.
    14    BY MR. KAY:
    15              Q.    Do you have any knowledge of Steve
    16    Fritz specifically being retained by the defense
    17    team representing Roger Gillispie?
    18              A.    I do not.
    19              Q.    Okay.     Is this the first time that
    20    you've heard of that fact?
    21              A.    I read somewhere in the paperwork that
    22    I had that he was involved in it, but I did not
    23    know to what extent.
    24              Q.    Okay.     In your experience as an
    25    officer, how long, 26 years?

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    1               A.    26 years.
    2               Q.    Okay.     Are you aware of a situation
    3     where a detective resigned from a police department
    4     and within months was retained by a defense team to
    5     serve as a private investigator for an individual
    6     who was under investigation by the same department
    7     that he used to work for; have you ever heard of
    8     that circumstances ever occurring?
    9               A.    I've never heard of that circumstance.
    10    It sounds unethical to me.
    11              Q.    Certainly does, doesn't it?
    12                            MR. SHUKUR:     Objection to form.
    13    BY MR. KAY:
    14              Q.    Marvin, were you present for any reason
    15    when Roger Gillispie was arrested?
    16              A.    I was not.
    17                            MR. KAY:    That's all I have.
    18    Thank you.
    19                            MR. DETERS:     Marvin, my name is
    20    Jon Deters.      My office represents Defendants Angel,
    21    DiPietro, and Gray.         I don't have any questions for
    22    you at this time.         I just wanted to thank you for
    23    coming today.
    24                            THE WITNESS:     Okay.
    25                            MS. JEWELL:     You good?        I don't

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    1     have any questions.
    2                            MR. SHUKUR:     All right.       I have a
    3     few follow-up questions.
    4                           RECROSS-EXAMINATION
    5     BY MR. SHUKUR:
    6               Q.    Mr. Scothorn, during your time as
    7     lieutenant did you ever suggest that somebody be
    8     investigated as a suspect in a matter investigated
    9     by the Miami Township Police Department?
    10              A.    No.
    11              Q.    During your time as captain did you
    12    ever suggest that anybody be investigated as a
    13    suspect in the matter investigated by the Miami
    14    Township Police Department?
    15              A.    I don't know.
    16                           MR. HERMAN:     Objection.
    17                           THE WITNESS:     I don't know of any
    18    incident where I would have suggested that, no.
    19    BY MR. SHUKUR:
    20              Q.    And are you saying for sure that you
    21    did not suggest anybody be investigated as a
    22    suspect or are you saying that you don't know
    23    whether or not you did?
    24                           MS. JEWELL:     Objection.
    25                           THE WITNESS:     I can't imagine the

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    1     circumstances when I would do that.
    2     BY MR. SHUKUR:
    3                Q.   Okay.     And Miami Township, the Miami
    4     Township Police Department had to develop written
    5     policies and procedures to get its accreditation,
    6     correct?
    7                A.   Yes.
    8                Q.   All right.      And each time the township
    9     or Miami Township Police Department created a new
    10    policy or procedure it put it in writing, correct?
    11               A.   Yes.
    12               Q.   All right.      Now, let's talk about the
    13    property room that stored the initial and
    14    supplemental reports.          Was this property room
    15    locked at all times?
    16               A.   Except when it was being occupied.
    17               Q.   When would it be occupied?
    18               A.   During regular business hours.
    19               Q.   Who all had a key to the office?
    20                            MS. JEWELL:     Objection.
    21    BY MR. SHUKUR:
    22               Q.   If you know?
    23               A.   The record staff, myself, and the
    24    police chief.
    25               Q.   Did you have custodial staff at the

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    1     police department?
    2               A.    Like a janitor?
    3               Q.    Yes.
    4               A.    Yes.
    5               Q.    All right.     Did the janitor have a key
    6     to the records room?
    7               A.    No.
    8               Q.    All right.     How would the records room
    9     get cleaned?
    10              A.    The records clerks cleaned it.
    11              Q.    All right.     All right.      And if
    12    detective, well, first, 1988, what was the Miami
    13    Township Police Department's practice regarding
    14    when an initial report was submitted to the
    15    property room?
    16              A.    To my knowledge there was no time limit
    17    scheduled for it, just that when you finished your
    18    initial investigation, it was to be submitted.
    19              Q.    Did you ever check to make sure a
    20    detective or patrol officer submitted a report to
    21    the property room when they finished their initial
    22    investigation?
    23              A.    I don't remember ever specifically
    24    checking, no.
    25              Q.    Were the Miami Township Police

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    1     Department, law enforcement officers required to
    2     submit the initial reports and the supplemental
    3     reports all at once or submit the initial report
    4     first and then the supplemental reports?
    5                           MS. JEWELL:      Objection.
    6                           THE WITNESS:      They would submit
    7     the original report and then further investigation,
    8     as it proceeded, they would submit supplemental
    9     reports.
    10    BY MR. SHUKUR:
    11               Q.   All right.     And what was the practice
    12    regarding when the officers were required or
    13    actually did submit the supplemental reports to the
    14    property room?
    15                          MR. HERMAN:      Objection.
    16                          THE WITNESS:      The patrol officers
    17    or detectives?
    18    BY MR. SHUKUR:
    19               Q.   First, we'll say patrol officers.
    20               A.   Patrol officers were required to submit
    21    their initial report by the end of their shift
    22    unless they received permission from their
    23    supervisor that they could hang onto it for an
    24    extra day to finish it up.          As far as supplemental
    25    reports, the supplemental reports were supposed to

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    1     be turned in as they were completed, depending on
    2     the subject of the report, and then they would
    3     just, they would be submitted, and then they would
    4     have the numbers, and they would go to records, and
    5     then records would file them appropriately.
    6                Q.    And what about the detectives?
    7                A.    Same thing with the detectives.
    8                Q.    Okay.     So detectives were supposed to
    9     submit supplemental reports to the property room as
    10    the supplemental reports were completed, correct?
    11               A.    That's correct.
    12               Q.    All right.      Now, do you know of any
    13    mechanisms in place during your time as lieutenant
    14    or captain that made sure that detectives submitted
    15    their supplemental reports as they completed them?
    16               A.    I'm not sure what you're asking.
    17               Q.    How did the department, if you know,
    18    how did the Miami Township Police Department make
    19    sure that detectives submitted their supplemental
    20    reports as they completed them during your time as
    21    captain?
    22               A.    We didn't, we didn't track them.           We
    23    just counted on them to turn the paperwork in
    24    properly.       It made sense to, they could easily keep
    25    a copy, retain a copy of, if they needed it, but

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    1     the original needed to go to the property room to
    2     be filed.
    3               Q.    After a detective submitted a
    4     supplemental report to the property room, could the
    5     detective ever check out the original supplemental
    6     report?
    7               A.    Yes.
    8               Q.    Okay.     Did the property room, sorry,
    9     here's my question, when the detective checked out
    10    a, during your, sorry.          Here's my question, during
    11    your time as captain did the detective or a
    12    detective who checked out a supplemental report, an
    13    original supplemental report from the property room
    14    have to sign any documentation memorializing the
    15    detective checking out the supplemental report?
    16              A.    I may have misled you with your last
    17    question.      They didn't actually check out the
    18    report.     They could request a copy of it, and then
    19    they would be given a copy and the original one
    20    back in the file.
    21              Q.    So under no circumstance could the
    22    detective check out an original of a supplemental
    23    report once the report was submitted to the
    24    property room; is that correct?
    25              A.    There would be no need to.           You could

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    1     get a copy of it.         If you could get a copy of it,
    2     you wouldn't need the original.
    3               Q.    I understand.       And I understand your
    4     answer was there was no need to.
    5               A.    Okay.
    6               Q.    And so I just want to know if it ever
    7     needlessly happened, all right?             So under no
    8     circumstance, well, you don't know of an instance
    9     in which an original supplemental report was taken
    10    out of the property room during your time as
    11    captain at the Miami Township Police Department; is
    12    that correct?
    13              A.    That's correct.        I have no knowledge of
    14    any time that that occurred.
    15              Q.    Okay.     When a detective, is it the case
    16    that each time a detective, and let's say during
    17    your time as lieutenant, was it the case that each
    18    time a detective wanted to see a copy of her or his
    19    supplemental report they would only be given a copy
    20    or would they sometimes be allowed to see the
    21    original, you know, and not get a copy?
    22                            MS. JEWELL:     Objection.
    23                            MR. HERMAN:     Objection.
    24    BY MR. SHUKUR:
    25              Q.    You can answer.

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    1               A.    I can see an incident where he wanted
    2     to hold the copy while read something from it and
    3     then hand it back, and he never actually got a copy
    4     of it, but he wouldn't have been allowed to take it
    5     from the room.
    6               Q.    So a detective could review an original
    7     of or an original supplemental report in the
    8     property room but could not take the original
    9     report out of the property room; is that correct?
    10              A.    That's correct.
    11              Q.    Now, this property room, you remember
    12    how the property room looked during your time as
    13    lieutenant and captain, correct?
    14              A.    Yes.
    15              Q.    This property room, did it have any
    16    chairs?
    17              A.    There was a small desk and a chair.
    18              Q.    There was a small deck and a chair.
    19    Who sat at the desk?
    20              A.    Different people.       It depends on what
    21    they were doing that particular day.             It could have
    22    been, it could have been any one of the records
    23    people.
    24              Q.    All right.     And if the detective wanted
    25    to review a supplemental report and said there was

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    1     no need to make a copy, could the detective sit at
    2     the desk and review the supplemental report?
    3                A.   I guess it's possible, but I don't know
    4     that that ever occurred.
    5                Q.   Okay.     Did you ever see, sorry.        Here's
    6     my question, did you ever have an occasion to see
    7     more than one law enforcement officer in the
    8     property room at one time, so two detectives, two
    9     patrol officers, whatever?
    10               A.   They weren't suppose to be in there at
    11    all.     If I saw them there, I would run them out.
    12               Q.   Fair enough.       So I want to impact what
    13    you just said.       So if a detective went to the
    14    property room, asked for her or his original
    15    supplemental report to review really quickly, and
    16    the clerk gave the detective a copy of their
    17    original supplemental report, and they were
    18    reviewing it in front of the clerk, and you came
    19    in, you would kick the detective out?
    20               A.   That's correct.
    21               Q.   All right.      Did the property room,
    22    sorry.     Here's my question, during your time as
    23    lieutenant, did the property room memorialize
    24    requests for copies of initial or supplemental
    25    reports?

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    1                A.   I don't understand the question.
    2                Q.   I'm trying.      During your time as
    3     lieutenant, did the property room memorialize or
    4     document in any way an instance of a detective or
    5     patrol officer requesting an initial or
    6     supplemental report, was there a log or anything
    7     like that --
    8                A.   Was there a log of who requested
    9     reports?
    10               Q.   Yes.
    11               A.   No.
    12               Q.   All right.     And earlier you said you
    13    didn't know of a circumstance in which a detective
    14    eliminating a suspect didn't get filed away and
    15    stored properly.        What do you mean by filed away
    16    and stored properly?
    17               A.   It would have been filed with the rest
    18    of the report and filed appropriately.
    19               Q.   And by it, what do you mean?
    20               A.   A report, a supplement.
    21               Q.   By the supplement you mean supplement
    22    explaining that a suspect has been eliminated; is
    23    that correct?
    24               A.   If the detective was following a
    25    suspect in a case, and he eliminated, he would be

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    1     required to do a supplemental report.              And that
    2     supplemental report would be filed with the
    3     original.
    4               Q.    During your time as lieutenant how did
    5     you make sure that original supplemental reports
    6     never left the property room?
    7               A.    I didn't directly.       I counted on the
    8     employees there to make sure that they followed
    9     procedures.
    10              Q.    During your time as lieutenant and
    11    captain, what safeguards were there in place to
    12    ensure that original, initial, or supplemental
    13    reports didn't leave the property room?
    14              A.    It was, it was our policy that they
    15    didn't leave, and the records people were pretty
    16    good about following procedures.
    17                          MR. SHUKUR:      I have nothing else.
    18                          MR. HERMAN:      I have a few more
    19    questions.
    20                         RECROSS-EXAMINATION
    21    BY MR. HERMAN:
    22              Q.    Omavi was asking you questions about
    23    officers or detectives getting copies of original
    24    and supplemental reports from the property room.
    25    My first question is, well, I'm sorry.              Let me back

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    1     up a little bit further than that.              We were talking
    2     about when you were being asked questions about the
    3     timing of when a patrol officer submits his initial
    4     report and the timing of when a detective or any
    5     other officer submits their supplemental report; do
    6     you recall those questions and your answers?
    7                A.   Yes.
    8                Q.   Was there any differentiation in that
    9     timing as it relates to the paper-based
    10    recordkeeping at the department versus the
    11    computer-base recordkeeping at the depend?
    12               A.   Not that I'm aware.
    13               Q.   And, again, the initial reporting
    14    officer is to submit, was to submit their initial
    15    report at the close of their shift unless a
    16    supervisor gave them some extra time do that,
    17    correct?
    18               A.   Correct.
    19               Q.   And supplemental reports were submitted
    20    upon their completion?
    21               A.   Correct.
    22               Q.   Okay.     When the department transitioned
    23    to the computer based recordkeeping including
    24    preparing initial reports and supplemental reports,
    25    was there then a need at that point for a police

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    1     officer or detective to hand a copy of their
    2     initial or supplemental report to an evidence room
    3     or a property room clerk to keep in this filing
    4     cabinet?
    5                A.   Once they, once we started doing things
    6     on computer, then, once they finished it, and they
    7     completed it, then they were downloaded into the
    8     hard drive of the computer, they printed out a copy
    9     of the report and submitted copy of the report to
    10    the supervisor for the sheriffs, but the initial
    11    report there was on data was, went to the record
    12    section.
    13               Q.   Okay.     So there was no physically
    14    handing reports to somebody to then file, correct,
    15    when we started, when the township Started using
    16    the computer based --
    17                            MR. SHUKUR:     Objection to form.
    18                            THE WITNESS:     Through my tenure
    19    there, they always submitted some kind of paperwork
    20    even if it was just a printout of the report.
    21                            (WHEREUPON, Mr. Deters exited the
    22    room.)
    23    BY MR. HERMAN:
    24               Q.   Okay.     But there was always a copy, and
    25    I don't know if we want to call it an original or a

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    1     copy of that report in the hard drive or database
    2     that was maintained at the Township, correct?
    3                A.   Correct.
    4                Q.   Okay.     Did Scott Moore have a key to
    5     the property room in 1988?
    6                A.   No.
    7                Q.   Did he have a key to the property room
    8     in 1989?
    9                A.   No.
    10               Q.   Did he have a key to the property room
    11    in 1990?
    12               A.   No.
    13               Q.   Did he have a key to the property room
    14    in 1991?
    15               A.   No.
    16               Q.   In your time as a lieutenant with the
    17    Miami Township Police Department and a captain
    18    overseeing the recordkeeping department or
    19    recordkeeping section, do you recall any instance
    20    under the paper-based recordkeeping system of an
    21    original initial report being removed from the file
    22    cabinet?
    23               A.   No.
    24               Q.   Do you recall any instance under that
    25    paper-based recordkeeping system of an original

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    1     supplemental report being removed from the filing
    2     cabinet?
    3                A.   No.
    4                             MR. HERMAN:     That's all the
    5     questions I have.         Thank you.
    6                             MS. JEWELL:     I don't have any
    7     questions.
    8                            RECROSS-EXAMINATION
    9     BY MR. SHUKUR:
    10               Q.   When James Moore was chief of the Miami
    11    Township Police Department, he had a key to the
    12    property room, correct?
    13               A.   Yes.
    14                            MR. SHUKUR:     All right.       That's
    15    all I have.
    16                            MS. JEWELL:     You have the right to
    17    read your deposition or waive.             I recommend that
    18    you read it.
    19                            THE WITNESS:     I will.
    20                            (WHEREUPON, Mr. Deters entered the
    21    room.)
    22                            MS. JEWELL:     He will read.
    23                            THE WITNESS:     I will read it.
    24                            MR. SHUKUR:     Mr. Scothorn, it was
    25    a pleasure meeting you.

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    1                           THE WITNESS:      Oh, nice meeting
    2     you, sir.
    3                           (WHEREUPON, deposition concluded
    4     at 2:58 p.m.)
    5                      *       *      *       *       *
    6
    7
                                 _____________________________
    8                                      MARVIN SCOTHORN
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    1                          C E R T I F I C A T E
    2
    3     STATE OF OHIO
                          SS.
    4     COUNTY OF MONTGOMERY
    5
    6               I, Jamie S. Hurley, the undersigned, a
          Court Reporter, and Notary Public within and for
    7     the State of Ohio, do hereby certify that before
          the giving of aforesaid deposition said MARVIN
    8     SCOTHORN, was by me first duly sworn to state the
          truth, the whole truth, and nothing but the truth;
    9     that the foregoing is the deposition given at said
          time and place by said MARVIN SCOTHORN; that said
    10    deposition was taken in stenotypy by the court
          reporter and transcribed into typewriting under her
    11    supervision; that said transcribed deposition was
          submitted to the witness for his examination; the
    12    court reporter was neither a relative of nor
          attorney for any of the parties to this case nor
    13    relative of nor employee for any of the counsel;
          neither the court reporter nor the affiliated court
    14    reporting firm has a financial interest under a
          contract as defined in Civil Rule 28(D).
    15
                    IN WITNESS WHEREOF, I hereunto set my
    16    hand and official seal of office this 6th day of
          February, 2019.
    17
    18
    19                          _______________________________
                                JAMIE S. HURLEY
    20                          Notary Public, State of Ohio
                                My Commission Expires 6-28-20
    21
    22
    23
    24
    25

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